Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 1 of 74




                  Exhibit C
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 2 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
      1              LaTina                        Y.                    KS
      2               Kayla                        K.                    TX
      3              Trenton                       H.                    TX
      4              Michael                       M.                    GA
      5               Adam                         M.                   WA
      7               Heath                        N.                   WA
      8              Donald                        G.                    CA
      9              Clayton                       R.                    MO
     10              Corliss                       C.                    TX
     12              Michael                       G.                    OH
     14              Stephen                        J.                   CA
     15                Neal                        W.                    VA
     16             Stephanie                      M.                    CA
     17               Jenny                         T.                   CA
     18               Anton                        H.                    CA
     20               Karen                        W.                    NY
     21              Charles                       B.                    NY
     22              Martin                        H.                    FL
     23                John                        Y.                    MD
     24               Diana                        Y.                    MD
     25              Thomas                         S.                   CA
     26               Aaron                        B.                    CA
     27             Matthew                         F.                   IA
     29               David                        C.                    NY
     31               Marc                         W.                    CA
     32                Joel                        W.                    CA
     33             Anthony                        R.                    TX
     34             Savannah                       R.                    TX
     36               Penny                        A.                    CO
     37                 S.                         A.                    CO
     38              Robert                         I.                   NC
     39               Nigel                         T.                   CO
     40               April                         S.                   NC
     41              George                         I.                   NC
     42              Shirley                       W.                    CA
     43               Shaun                         S.                   PA
     47              Michael                       B.                    TX
     48               Carla                        B.                    TX

                                  Page 1 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 3 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
     49               Brian                        H.                    GA
     50               Steve                        D.                    OH
     51               Andre                        V.                   WA
     52                 Eric                        E.                  WA
     54               Frank                        D.                    MD
     55                Irene                       D.                    MD
     56             Thomas                         C.                    PA
     57                Sara                        G.                    ME
     58               James                         J.                   OR
     61             Michael                        L.                    OR
     62              Charles                       W.                   WA
     63                Shao                        H.                   WA
     64                Paul                         E.                  WA
     65              Kellum                        H.                    MA
     67              Joshua                        C.                    FL
     68              Phuong                        H.                    MA
     69               Linda                        C.                    HI
     70              Veena                         K.                    HI
     71               Ingrid                       W.                    OH
     74               Philip                       H.                    NY
     76               Tariq                         E.                   NC
     77                Majd                        A.                    NC
     78              Klassik                       N.                    GA
     79               David                         E.                   SC
     80               Nikki                        K.                    CT
     84               Linda                        W.                    MI
     85               Harry                        R.                    IL
     86             Matthew                        D.                    IL
     88             Michael                        A.                    MI
     89               Robin                         P.                   SC
     90              Duane                         A.                    VA
     93             Nicholas                       C.                    ME
     95              Patricia                      T.                    CT
     96               Kiran                        V.                    HI
     97                Luka                         J.                   NY
     99              Ginger                        C.                    TX
    100            Christopher                      F.                   NC
    101             William                        B.                    IL

                                  Page 2 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 4 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    102             Deborah                        B.                    IL
    103             Timothy                        M.                    TX
    104             Shabana                         S.                   TX
    105              Wendy                          P.                   MD
    106              William                        P.                   MD
    107              Nicole                        B.                    MA
    108             Lawrence                        P.                   MA
    109             Shannon                        M.                    MI
    110               Brian                        M.                    MI
    111                Paul                        A.                    MI
    112                 Jill                       C.                    ID
    113               Jason                        W.                    ID
    114               Adam                          I.                   VA
    115               Ismail                        I.                   VA
    116              Emma                           I.                   VA
    117               Keith                         F.                   MN
    118                Beth                         F.                   MN
    119            Christopher                     G.                    NM
    120              Nicole                        G.                    NM
    122               Edgar                        W.                    MD
    123              Andrew                         S.                   GA
    125               Kellie                       C.                    MD
    126             Florence                        J.                  NC
    127                Kali                        D.                    AR
    128                Kim                         W.                   WA
    131              Tonya                         R.                    KS
    132               Kecia                        H.                    KS
    133                Gary                        C.                    OR
    135               Mark                         M.                    NC
    136             Stephanie                      M.                    NC
    137                Lisa                         L.                   MI
    138               Kelly                         E.                   MA
    139                Sian                        B.                    VA
    140               Grant                        D.                    AR
    142                Amy                          P.                   NH
    143                Paul                        B.                    MA
    144               Sarah                        H.                    MA
    145              Jeffrey                       C.                    MA

                                  Page 3 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 5 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    146                 Paul                       N.                    VA
    149                Daryl                        E.                   MA
    150                Garry                       H.                    VA
    152              Thomas                        E.                    MI
    153               Harold                        I.                   AZ
    154              Elizabeth                     B.                    MA
    155              Raphael                        T.                   MO
    156               Robert                       B.                    NM
    157               Karlon                       B.                    NM
    158                James                       D.                    MA
    159                 Arne                       W.                    OH
    161                Kirill                       S.                   CA
    162              Emanuel                       M.                   WA
    164               Venicia                      C.                    NV
    165              Margaret                      D.                    PA
    166                Scott                       H.                    OH
    167              William                       T.                    MO
    168                Emily                       T.                    MO
    169              Amanda                        H.                    IA
    175                Mary                        B.                    PA
    176              Jonathan                      B.                    PA
    179                Anna                        C.                    MS
    180                Garth                       C.                    MS
    181            Ruchitkumar                      P.                   AL
    182              Nidhiben                       P.                   AL
    183           Virendrakumar                     P.                   AL
    184              Deborah                       B.                    OH
    185               Edward                       B.                    OH
    187               George                       H.                    GA
    188             Kimberly                       G.                    MN
    189              Anthony                       G.                    MN
    191              Donovan                        J.                   NC
    192                Todd                        H.                    CA
    193               Heather                      Y.                    MI
    194               Carlton                      T.                    CA
    195               Arthur                        F.                   MD
    196               Theresa                       F.                   CA
    197                Sylvia                      C.                    FL

                                  Page 4 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 6 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    198               Cyril                        M.                    FL
    199             Osvaldo                        M.                    FL
    200               Carol                        K.                    PA
    202              David                         K.                    IL
    203               Calin                        D.                    IL
    204               Louis                        R.                    CA
    205             Barbara                        R.                    CA
    206              Jeanne                         J.                   CA
    208               Todd                         C.                    NY
    209              Robert                         L.                   CO
    211               Lynn                         T.                    NV
    212              Shawn                          T.                   NV
    213              Patrick                       D.                    CA
    214              Samuel                        W.                    TN
    215               Mary                         W.                    FL
    216             Yolanda                        V.                    FL
    217             Timothy                        H.                    CA
    218              Kevin                          S.                   NC
    219             Douglas                        T.                    CA
    225               Todd                          S.                   IL
    226              Seyed                         N.                    PA
    227                Eric                        Z.                    CA
    228               Susan                        D.                    CA
    229              Joshua                        V.                    TX
    230               John                          F.                   NC
    231               Dawn                         B.                    OH
    232              Cavett                         F.                   NM
    233              Jeffrey                       D.                    MA
    234               Lalith                       N.                    MA
    235              Arden                          I.                   CA
    238             Eleanor                        M.                    TX
    239             Zachary                         F.                   DC
    245             Cosmos                         N.                    CA
    246               Carol                        B.                    WI
    247                Ella                        B.                    WI
    249                Lisa                        R.                    RI
    250                Jon                         L.                    MO
    251              Angie                         Y.                    CA

                                  Page 5 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 7 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    254              Robert                        R.                    OR
    255             Andrew                         Y.                    CA
    257               Adam                          S.                   CO
    258             Michael                        L.                    CA
    260              Nancy                         R.                   WV
    261             Dewayne                        R.                    KS
    262              Sharon                         L.                   CA
    263               Akiva                         L.                   CA
    266                Juan                         P.                   FL
    267                Brett                       B.                    CO
    268                Kelli                       G.                    CO
    269            Christopher                     C.                    NC
    270                Paul                        H.                    PA
    271               Derek                        W.                    CA
    273               Erica                         L.                   FL
    274             Katherine                      G.                    WI
    275               Frank                        G.                    WI
    277               James                         Z.                   OH
    278              Cynthia                       N.                    CA
    280                Rosa                        E.                    TX
    281              Marcia                        H.                    CA
    282                Perri                        S.                   GA
    283               Jesus                        H.                    CA
    284            Christopher                     H.                    CO
    285             Deborah                        H.                    CO
    286             Gregory                        W.                    CA
    287            Deeshawn                        D.                    NC
    288               Eboni                        C.                    NY
    289                Jane                        W.                    OH
    291             Michelle                       D.                    CA
    292              Randall                       D.                    CA
    295               Derek                        L.                    NJ
    297               Bryan                        R.                    GA
    299             Andrew                          S.                   NJ
    300                Paul                         I.                   NM
    301              Pamela                        G.                    CT
    302            Cassandra                       T.                    SC
    303             Thomas                         B.                    CA

                                  Page 6 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 8 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    304               Amari                        D.                    NY
    305               Kevin                        M.                    NJ
    306             Katherine                      M.                    NJ
    308             Kimberly                        S.                   MO
    309              Robert                         S.                   MO
    311            Christopher                     R.                    TX
    312             Matthew                        Y.                    MD
    315              Rhonda                        Y.                    ME
    316              Walter                        Y.                    ME
    317             Danielle                       W.                    TX
    319             Jonathan                       M.                    NY
    320                 D                           S.                   CT
    322             Benjamin                        S.                   VT
    323            Nancy-Lea                        S.                   VT
    324              Andrew                        K.                    ID
    325             Lawrence                        S.                   NY
    326              Cecilia                       K.                    NY
    327               Flaviu                       T.                    GA
    328             Matthew                        D.                    PA
    329                John                        A.                    PA
    330              Patricia                      A.                    PA
    331              Michael                        S.                  WA
    332               Peter                        D.                    CA
    333              Roman                          S.                   CA
    334              Nerissa                       W.                    MD
    335              Steven                         S.                   MD
    336              Latisha                       D.                    MD
    339                 Yi                         B.                    NJ
    340               James                         S.                   CA
    342                Jake                         F.                   CA
    344              Stephen                       G.                    SC
    345              Denise                         S.                   IL
    346             Solomon                        B.                    CA
    347                Erin                        A.                    NC
    348              Denise                        K.                    WI
    349               Travis                       K.                    MN
    350               Lenae                        K.                    MN
    353                Greg                        D.                    CA

                                  Page 7 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 9 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    354            Alexander                        Z.                   CA
    355              Charles                       A.                    VA
    356                Judy                        A.                    VA
    357              Joshua                         F.                   IL
    359              Warren                        G.                    MO
    360               Grace                        G.                    MO
    361               Dawn                         K.                    TX
    363             Raymond                        V.                    VA
    364               Scott                        E.                    TX
    365              Clinton                       D.                    TX
    366               Alan                         R.                   WA
    367               Olga                          L.                   IL
    368              Daniela                       D.                    CA
    369             Frederick                      K.                    PA
    371             Katherine                      W.                    TN
    374              Ronald                        R.                    PA
    375               Karen                        L.                    PA
    376              Maurice                        S.                   NY
    377              Jeffrey                       M.                    MD
    378                Mira                        H.                    IL
    379              Stephen                       H.                    IL
    381               Esther                       N.                    PA
    382               Flynn                        B.                    PA
    384                 Jed                        G.                    IL
    385                Lisa                        G.                    IL
    386             Kaitlynn                       K.                    IL
    387             Matthew                        K.                    MN
    388              Steven                        K.                    MN
    389              Patricia                      K.                    MN
    392               Daniel                       W.                    AZ
    393                Jade                         F.                   WI
    394              Clayton                        J.                   LA
    396              Richard                       Y.                    IN
    397              Edward                         S.                   IN
    398               Ruby                         H.                    IN
    399              Mathew                        B.                    TN
    400               Brent                        B.                    SC
    401             Samantha                       B.                    SC

                                  Page 8 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 10 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    402                 Joan                        C.                    PA
    403                Susan                        V.                    MA
    404              Jennifer                       R.                    TX
    405              Stephen                         S.                   TX
    407               Audella                        P.                   CA
    408              Michael                         P.                   NC
    409               Joseph                        A.                    NC
    410               Kevin                         B.                    TX
    412              Marilyn                         S.                   CA
    413              Andrew                         K.                    AZ
    417                Jacob                        B.                    MI
    418              Michael                        L.                    KS
    421              Katherine                      G.                    CA
    424                 Eric                        N.                    TX
    425              Florence                       W.                    TX
    427              Jennifer                       M.                    MI
    428               Brycia                        K.                    TN
    429                 Noel                         F.                   NV
    431              Jonathan                       B.                    CA
    433              Jennifer                       G.                    TX
    434                Justin                       K.                    SC
    435                Philip                       C.                    CO
    436              Kathryn                        K.                    CA
    437                Marci                        C.                    MI
    440               Robert                         L.                   PA
    441              Thomas                         H.                    TX
    442               Kevin                         C.                    VA
    443                 Katy                        G.                    CO
    444                 Ben                          P.                   CT
    445                James                        D.                    MD
    446               Jeffrey                        L.                   MI
    447               Roman                         C.                    NY
    448              Raymond                         S.                   HI
    449                James                        M.                    NY
    450              Gregory                        R.                    AK
    451              Michael                        W.                    MA
    452                 John                         F.                   NV
    454              Thomas                         M.                    PA

                                   Page 9 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 11 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    455              Kayleigh                       K.                    OR
    456           Vijayachandran                    N.                    AZ
    457                 Brian                       M.                    MA
    458               Thomas                        R.                    TX
    459              Michelle                       A.                    TX
    460                 Anita                       C.                    NV
    463                 Lane                        N.                    NY
    464                 Keith                        L.                   CA
    465                 Maria                       G.                    CA
    467            Karthiayani                      N.                    AZ
    468                 Alejo                       O.                    TX
    469                Nancy                        D.                    CA
    470                 Ivan                        L.                    AK
    472                 Elisa                       D.                    NC
    473               Richard                       L.                    NC
    474              Rebecca                         S.                   TX
    475                 John                        M.                    NC
    476                 Doris                       L.                    MO
    477              Rebecca                        M.                    AR
    478                 Sara                         L.                   IA
    480                 Kara                        H.                    MA
    481                Analia                       M.                    CA
    484                Donna                         F.                   MN
    485               Patricia                      G.                    CA
    486                Austin                       N.                    UT
    488                Jessica                       T.                   CA
    489               Melanie                       M.                    MD
    490                 Dana                        V.                    CT
    491                Muriel                       D.                    MO
    492               Christie                      C.                    ID
    494               Michael                       H.                    FL
    495               William                        S.                   LA
    496                Bernd                        K.                    TX
    497                 Rosa                        K.                    TX
    498               Jennifer                       S.                  WA
    500                 Hope                         P.                   PA
    501                 Jody                         P.                   CT
    502                 Lisa                         L.                   NY

                                   Page 10 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 12 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    504                 Eric                       L.                    CA
    505               Joshua                        S.                   CA
    508                Barry                       C.                    PA
    509               Henry                        H.                    MD
    510              Clarissa                       P.                   VA
    511              Thomas                         J.                   VA
    512               Elaine                       D.                    VA
    513                 Judi                       C.                    PA
    514               Cassie                       H.                    FL
    515               David                        C.                    UT
    516                 Igor                        J.                   NY
    517                Blake                        S.                   MD
    518              Frances                       K.                    CA
    520                Brian                        L.                   MO
    521               James                         S.                   SC
    522              Giuseppe                      N.                    NJ
    523               David                         J.                   CT
    524               Steven                       C.                    FL
    525               Monica                        Z.                   FL
    528                Dana                        B.                    TN
    529              Frances                       R.                    TN
    530              Edward                         S.                   NJ
    533                Nyia                        B.                    CA
    534              Xandria                        S.                   CA
    535              Michael                       M.                    CA
    536             Constance                      W.                    CA
    537                Beth                        H.                    SC
    538              Kenneth                       H.                    SC
    539                Irene                       D.                    CA
    540                Jason                       D.                    CA
    541               Jessica                      B.                    NC
    542               Joshua                       B.                    NC
    544              Matthew                       C.                    PA
    546               Carole                       R.                    MD
    547               David                        G.                    WI
    548                Laura                       G.                    WI
    549              Jennifer                      D.                    MN
    550               Logan                         S.                   PA

                                  Page 11 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 13 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    551               Jeffrey                      M.                    SC
    552                Mary                        M.                    SC
    553               Jacinth                      M.                    GA
    554                 Jerry                       J.                   NC
    555               Nicole                       M.                    CA
    556               Steven                       A.                   WA
    559              Rachelle                      A.                   WA
    560                Justin                      D.                   WA
    561               Nicole                       M.                   WA
    562                Chris                       B.                    AZ
    563               Victoria                     B.                    AZ
    564                Renee                        S.                   IL
    565                James                       M.                    CO
    566                Nikki                       V.                    CA
    567               Marvin                       V.                    CA
    570                Myah                        M.                    CA
    571                Brian                       B.                    MI
    572              Stephanie                     G.                    IN
    574              Shannon                       W.                    MI
    575                Brian                       B.                    IN
    576               Raynell                       S.                   HI
    577               Verilla                       J.                   IN
    579                 Gary                       G.                    CO
    580                Mark                        D.                    TX
    581                Adam                        R.                    CA
    582                 Lena                        S.                   CA
    583                 Gary                        S.                   CA
    584              Jonathan                       L.                   NY
    587                Curtis                      B.                    NC
    588               Douglas                       S.                   NY
    589                Rami                        H.                    TX
    590               Barbara                      B.                    NY
    591             Annabelle                      G.                    WI
    592                Mary                        K.                    MD
    593                Keith                       K.                    MD
    594                  Ilya                      B.                    MO
    595               Lavinia                       S.                   MO
    601               Robert                       Y.                    VA

                                  Page 12 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 14 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    602                Jason                       G.                    CA
    603                Liliya                      G.                    CA
    604                Minh                        M.                    CA
    605               Tiffany                       J.                   CA
    606               Ashwin                       K.                    VA
    607               Ricky                         F.                   NC
    609                Radi                        D.                    DC
    610               Dustin                        S.                   MN
    611                Ethan                       H.                    PA
    612               Noora                         S.                   PA
    613               Melissa                      H.                    TX
    614                Sarah                       B.                    CA
    616              Deborah                       W.                    NC
    617                Katie                       C.                    NC
    618               David                        D.                    CO
    620              Jonathan                       S.                   AZ
    621               David                         S.                   TX
    622              Michael                       D.                    NJ
    623                 Lisa                       B.                    NY
    624              Lindsay                       G.                    PA
    625               Nathan                       G.                    PA
    629                Terry                       D.                   WA
    632                 Jill                       B.                    NY
    634                Sarah                       H.                    WI
    635              Michael                       K.                    SC
    636              Charlotte                     R.                    IL
    639                Luisa                        S.                   OR
    641              Angelina                      R.                    CO
    642               Rajesh                        S.                   IL
    643              Michael                       H.                    TN
    645               Sylvia                       A.                    NJ
    647               Casey                        N.                    VA
    648               Natalie                      C.                    VA
    649               Diane                        H.                    TN
    650                 Neil                        J.                   CA
    651                Lynn                        C.                    PA
    652               Robert                       K.                    NY
    653               Sharon                       G.                    CO

                                  Page 13 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 15 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    655                Fulvie                      N.                    FL
    657             Christopher                    B.                    GA
    658               Michael                       F.                   CA
    659              Jacquelyn                     D.                    MD
    661                Thien                       N.                    CA
    664                 Eric                       C.                    FL
    666               Vanessa                      R.                    OR
    667                Casey                       R.                    OR
    668                Kevin                       C.                    CA
    670               Debbie                       K.                    PA
    672              Raymond                       W.                    NY
    673               Marina                       H.                    CA
    674                Debra                       M.                    CA
    675               Rochelle                      J.                   CA
    676              Christina                     M.                    CA
    678                Angel                       M.                    CA
    679                Sarah                       M.                    TX
    680                 Dane                       T.                    MI
    681               Thomas                       H.                    VA
    682             Constance                      H.                    VA
    683                Robert                      C.                    MA
    684               Antoine                      A.                    TX
    686                 Erika                       E.                   ID
    687                 Seth                       E.                    ID
    688               Stefanie                      L.                   TX
    689                Leroy                        J.                   TX
    690                 Scott                      A.                    MO
    691                Judith                      W.                    VA
    693                 Sheri                       S.                   KS
    694               Richard                      M.                    NC
    695                Jenny                       B.                    TX
    696                 Jesse                      B.                    TX
    699               Michael                       P.                   OK
    702               Timothy                      L.                    FL
    703                Patrick                     G.                    OR
    704               Valerie                      G.                    OR
    705                Emma                        B.                    TX
    706               Thomas                        J.                   SC

                                  Page 14 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 16 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    707                Mark                         S.                   TX
    708              Rodney                         P.                   NM
    709                Mary                        G.                    CA
    710               Lizann                       R.                    TX
    711              William                       R.                    TX
    712               Alison                       B.                    IL
    713             Alexander                      W.                    RI
    714              Chelsea                       B.                    CA
    715              Rebecca                       B.                    CO
    716              Kimmery                        F.                   NC
    717                James                        F.                   NC
    718              Christine                     N.                    CO
    719               Joseph                        J.                   MD
    720               Kirsten                      M.                    HI
    721                  Ian                        L.                   HI
    722               Nancy                        B.                    AR
    723                Bruce                       D.                    KY
    724               Elaine                       D.                    KY
    725               Mitchel                       S.                   MN
    726              Cynthia                       H.                    NC
    728               Rachel                        F.                   TX
    729               Alfred                       Y.                    CA
    730                Gallia                       L.                   CA
    732              Virginia                      M.                    GA
    733                 Sue                        K.                    OH
    734                 Kara                       W.                    AZ
    735                 Paul                        S.                   MA
    737               Robert                        J.                  WA
    738               Denise                        J.                  WA
    739               Sandy                         S.                   CA
    740               Phillip                       S.                   CA
    741              Clifford                       S.                   CO
    742               Patricia                     M.                    CO
    743                David                       B.                    SC
    744                 Rose                       B.                    SC
    746                Keith                       B.                    IL
    748               Kristan                      A.                    CA
    749                Diana                       A.                    CA

                                  Page 15 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 17 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    750               Jarrod                       W.                    AZ
    751             Elizabeth                      B.                    MD
    753              Jonathan                      O.                    FL
    754             Katherine                      C.                    CA
    755                Denis                       B.                    CA
    756            Bangphuong                      N.                    CA
    757                John                        D.                    CA
    758               Marsha                        Z.                   MD
    760              Deborah                       K.                    NY
    762                Amy                         T.                    VA
    763                 Sol                         T.                   VA
    764               Steven                       D.                    MD
    765                Gino                        H.                    FL
    766               Daniel                       R.                    TN
    767                Tracy                       R.                    TN
    768               Nancy                        B.                    UT
    771                 Dale                        P.                   HI
    772                Brian                       R.                    CA
    773               Daniel                       E.                    MN
    774              Christina                      J.                   IN
    777               Kishya                       M.                    NC
    778              Kathleen                       S.                   MA
    779               George                       Z.                    PA
    780                John                        K.                    IN
    781                Elise                       R.                    MN
    782               Hunter                        J.                  WA
    783              Suzanne                       Y.                    NY
    784               Russell                       S.                   CA
    785              Suzanne                       B.                    CA
    786               Joseph                       B.                    CA
    787             Emmanuel                       G.                    NY
    788                Layne                       W.                    VA
    789               Marvin                       T.                   WA
    790               Cynthia                       T.                  WA
    792             Constance                      M.                    TX
    793               Ronda                        H.                    NH
    794                  R.                        H.                    NH
    795              Matthew                       D.                    MO

                                  Page 16 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 18 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    796               Brenda                       D.                    MO
    797               Sunday                       B.                    SC
    798               Richard                      M.                    MD
    800                 Kurt                       G.                    VA
    801               Whitney                      G.                    VA
    802                 Ryan                       Y.                    OH
    803               Eleanor                      G.                    NY
    804                Nancy                       E.                    SC
    805                 Susan                       S.                   MN
    806               Michael                      G.                    CT
    808                Jordan                      R.                    MN
    809                  Jane                      G.                    CT
    810              Seungmin                      C.                    CO
    811                 Brian                      B.                    CO
    812               Charles                      M.                    MN
    813                 Craig                      H.                    MI
    814               Brigette                     H.                    MI
    816               Esteban                      O.                    TX
    818                Jessica                     Y.                    CA
    819             Christopher                    M.                    CA
    820               Malathy                      K.                    TX
    821                Rajesh                      K.                    TX
    823               Sharon                        T.                   PA
    824                Joseph                       I.                   NC
    825             Kristopher                     H.                    NC
    826                 Gary                       R.                    GA
    827                 Dale                       W.                    DE
    830                 Holly                      B.                    VA
    831                Conor                       C.                    NY
    832              Nicholas                      A.                    CA
    833               Destinie                      S.                   CA
    835                Diogo                       M.                    UT
    837               George                        J.                   TX
    838               Summer                       B.                    TX
    840                 Julia                       L.                   FL
    841                Wayne                        L.                   FL
    842                Joanne                       S.                  WA
    847                Amber                       R.                    IN

                                  Page 17 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 19 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    848               Hubert                       G.                   WA
    849              Michael                       T.                    WI
    851               David                         P.                   GA
    852               Phyllis                       S.                   AE
    853                 Troy                        S.                   AE
    854             Aleksandra                     L.                    CA
    855               Joanna                       L.                    MD
    856               Ramin                        A.                    FL
    857                 John                       W.                    MD
    858               Raquel                       W.                    MD
    859               Robin                        N.                    CO
    860                James                       C.                    CA
    861                Laura                       C.                    DE
    862              Michelle                      M.                    MD
    863               Rachel                       K.                    NY
    864              Avraham                       K.                    NY
    865               Chava                        K.                    NY
    867             Genevieve                      W.                    FL
    868              Douglas                       B.                    ME
    873               Angela                        L.                   NY
    874              Margaret                       F.                   NJ
    876              Mitchell                      H.                    CA
    877              Darlene                       H.                    CA
    879                Anna                        D.                    NJ
    880              Anthony                       G.                    CO
    882               Dianne                       G.                    AK
    883             Emanuela                        S.                   OR
    884                 Glen                       W.                    TX
    886               Jeffrey                      N.                    MD
    888               Joseph                       G.                    NJ
    889               Juanita                      L.                    FL
    890                Laura                       W.                    TX
    891                Leslie                      N.                    CO
    892                 Lisa                       M.                    MD
    893               Marty                        K.                    WI
    894              Michael                       G.                    MI
    895                Peter                       R.                    NY
    896               Phillip                      L.                    OR

                                  Page 18 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 20 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    898              Raynold                        I.                   NJ
    899               Robert                       C.                    NY
    900               Shayna                       W.                    KS
    901               Sophie                        P.                   PA
    902                Syed                        A.                    FL
    903                Tayva                       H.                    FL
    905              Thomas                        O.                    CO
    907                 Rita                       T.                    PA
    908                 John                       L.                    DE
    909                  Joy                       L.                    DE
    910               Deidre                        P.                   NY
    911               Robert                        P.                   NY
    912              Kimberly                       S.                   PA
    914               Robert                       M.                    TX
    915               Patricia                     M.                    TX
    916              Meghan                        B.                    MA
    917              Benjamin                      N.                    MA
    919               Janeen                       O.                    NY
    920                Janey                        J.                   VA
    921                Paula                        J.                   VA
    922               Jessica                       J.                   VA
    923              William                        J.                   FL
    924                Mary                        W.                    FL
    925                 Lori                        S.                   AZ
    926                 Zary                        S.                   AZ
    927                David                       B.                    WI
    928               Megan                         S.                   PA
    930                Bryan                       G.                    PA
    931                Mary                        D.                    VA
    935                 Lyla                       B.                    MN
    937               Ashley                        S.                   GA
    938               Sharon                       M.                    TX
    939                 Pete                        I.                   TX
    941               Angela                        J.                   TX
    942                David                        J.                   TX
    944                Angy                        B.                    FL
    945                Linda                        S.                   NY
    947                 Paul                       B.                    MA

                                  Page 19 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 21 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    948                James                       W.                    PA
    949               Varujan                      G.                    CA
    950                Aaron                       C.                    FL
    951               Andrew                        S.                   CA
    952               Frances                      C.                    MI
    954                Maria                       C.                    CA
    957               Mischa                       B.                    KS
    958                Dahlia                       L.                   NY
    959                Betty                       L.                    NY
    963              Deborah                       G.                    NJ
    964                Brian                        T.                   MD
    965              Marshall                       S.                   CA
    967               Michael                       S.                   TX
    968                 Lan                         T.                   CA
    969                Chyrl                       N.                   WA
    970               Stephen                      R.                   WA
    971                Diana                       R.                   WA
    974               Richard                      L.                    GA
    975                Sarah                        L.                   GA
    976               Zachary                      L.                    GA
    977                Erica                        L.                   GA
    978                Adam                         L.                   GA
    981                 Jose                       M.                    GA
    982                 Kurt                        S.                   MI
    983                 Amy                        H.                    PA
    984               Richard                       J.                   PA
    985               Andrew                        S.                   CA
    986               Fredric                       I.                   IL
    987               Rebecca                      R.                    FL
    988                 Jane                       K.                    CA
    989               Herbert                       J.                   CA
    990              Stephanie                      T.                   NJ
    991               Michael                      B.                    TN
    992               Connie                       G.                    NC
    993              Frederick                      S.                   MD
    994               Norman                       B.                    MI
    995               Douglas                      L.                    NJ
    996                Hosea                        I.                   SC

                                  Page 20 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 22 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
     997             Andrew                         S.                  WA
     999               Jason                       H.                    IN
    1000              Heiddi                       B.                    MI
    1001             Elizabeth                     H.                    IN
    1003              Jeffrey                       P.                   MD
    1005              Marcus                        I.                   OH
    1006               John                        R.                    NY
    1008                Ela                         J.                   GA
    1009              Charles                      K.                    NJ
    1012             Michael                       V.                    MA
    1013               Jasel                        J.                   GA
    1014             Margaret                      A.                    VA
    1015              Shiloh                       M.                    CA
    1017               Mark                        A.                    NH
    1018               Jason                       D.                    MA
    1019              Bhavna                       G.                    CT
    1020              Jessica                      D.                    PA
    1021              Daniel                       R.                    NH
    1022               Holly                       A.                    NH
    1023               Dawn                         S.                   FL
    1024              David                         F.                   OR
    1026             Dovjosef                      A.                    CA
    1027             Matthew                       L.                    PA
    1028              Charles                      A.                    MD
    1029             Stephen                       G.                    KY
    1030             Timothy                       B.                    PA
    1031              Cindy                        B.                    PA
    1034            Chauncey                       C.                    MD
    1035             Willette                      B.                    VA
    1036              Tervin                       C.                    MD
    1037            Ashawnte                       W.                    VA
    1038                Jill                       G.                    RI
    1041             Michael                       H.                    RI
    1042              Miriam                       K.                    PA
    1043              Daniel                        S.                   VA
    1044             Thomas                        W.                    NJ
    1046              Sergey                       M.                    VA
    1047              Natalie                       P.                  WA

                                  Page 21 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 23 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1048              Andrea                       C.                    FL
    1049               Jason                       C.                    FL
    1050             Benjamin                      M.                    OK
    1051               Paula                       M.                    OK
    1052                Paul                       B.                    CO
    1053               Krista                       J.                   AL
    1054                Jan                         S.                   MI
    1055             Rebecca                       W.                    TX
    1056              Steven                        S.                   CA
    1057               Debra                        S.                   CA
    1058              Patricia                     T.                    DC
    1059               Bruce                       B.                    CA
    1060             Elizabeth                     B.                    CA
    1061              Sandra                        S.                   MI
    1062             Marianna                      K.                    CA
    1064               Brian                       B.                    NC
    1065               Frank                        I.                   NY
    1066               Alan                        G.                    MI
    1067                Paul                        J.                   SC
    1068              Wayne                        C.                    CO
    1070               Kevin                       G.                    TX
    1071                Sera                       G.                    TX
    1072              Brooke                       G.                    UT
    1073              Shaun                        G.                    UT
    1075              Richard                      W.                    NM
    1076              Tatiana                      W.                    TX
    1077              Daniel                       W.                    TX
    1079             Michael                        P.                   VA
    1080               Cory                        H.                    SC
    1081             Kathleen                      D.                    SC
    1082              Robert                       H.                    SC
    1083              Tracee                       C.                    AZ
    1084             Elizabeth                      J.                   AZ
    1085             Catherine                     G.                    NY
    1086            Christopher                    A.                    OK
    1087              Henry                        W.                    NY
    1088               Dale                        M.                    OH
    1089                Lisa                       N.                    IL

                                  Page 22 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 24 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1090              Tatiana                       T.                   NY
    1091               Sylvia                       S.                   VA
    1092             Stephanie                     A.                    DC
    1093              Barbara                      C.                    NC
    1094                Miles                      L.                    NY
    1097                Kelly                      B.                    CO
    1098                Lucia                      L.                    NY
    1100              Michael                       J.                   MI
    1101             Elizabeth                      T.                   MI
    1102             Benjamin                      B.                    CA
    1103              William                       J.                   NJ
    1104                 Sue                       D.                    FL
    1105              George                       D.                    MD
    1106                Sarah                       P.                   MD
    1107               Friday                      D.                    MA
    1108               Leroy                       D.                    FL
    1109               David                       N.                    PA
    1110                 Paul                      C.                    MA
    1111              Jennifer                     T.                    CA
    1112               Justin                      D.                    CA
    1113               Dalton                      C.                    PA
    1114               Joshua                       P.                   AZ
    1115               Hilary                       P.                   AZ
    1117               Matias                       S.                   TX
    1118               Danny                        S.                   KY
    1119                Jerry                       J.                   CA
    1120             Lawrence                      Y.                    CA
    1121                Jaime                      D.                    CA
    1122            Luzviminda                     D.                    CA
    1125                Brent                      H.                    CO
    1126                 Alec                      G.                    CO
    1127               Hibba                       H.                    KS
    1128              Michael                      H.                    AZ
    1133              Jennifer                     B.                    WI
    1137              Roberta                      W.                   WV
    1138                Greg                       W.                   WV
    1140             Francine                      B.                    ME
    1141              Geneva                       G.                    CA

                                  Page 23 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 25 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1142              Donna                        O.                    MD
    1143              Robert                       B.                    ME
    1144              Calvin                        P.                   TN
    1145               Maria                       R.                    OH
    1148             Manolis                       D.                    CA
    1149               Paula                       B.                    FL
    1150              Karen                        K.                    FL
    1151              Joshua                       K.                    FL
    1152             Madeline                      K.                    FL
    1153               Jason                       B.                    GA
    1154              Sheryl                       B.                    GA
    1156               Mona                         S.                   KY
    1158               Steve                       B.                    AL
    1159             Amanda                         F.                   VA
    1160              James                         P.                   CA
    1161              Bonnie                        P.                   CA
    1162              Jessica                      T.                    CO
    1163             Tammie                        D.                    NC
    1164               Jason                       W.                    CA
    1166              Patrick                       J.                   NJ
    1167            Alexander                      M.                    OH
    1168             Stephen                       K.                   WA
    1169            Mohamed                        D.                    NC
    1170              Debra                        M.                    CA
    1172              Martin                       K.                    NY
    1173              Atoosa                       G.                    NY
    1175               Peter                       H.                    CO
    1178               Loree                        S.                   GA
    1179               John                         T.                   MN
    1180               Sarah                       T.                    MN
    1182             Christian                     N.                    MN
    1183               Asma                         J.                   NJ
    1184                Paul                       L.                    OR
    1185              Brenda                       Y.                   WA
    1186              Steven                       G.                    OH
    1188               Paula                       C.                    NC
    1189            Cassandra                       F.                   TX
    1190             Matthew                       G.                    TX

                                  Page 24 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 26 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1191              Justine                      N.                    CA
    1194              Richard                       J.                   VA
    1196              Michael                       S.                   VA
    1197               Lucy                        H.                    TN
    1198               Molly                       B.                    IL
    1199              Carlos                       O.                    CA
    1200             Francesca                     W.                    IL
    1201               Maria                       D.                    CA
    1202               Reem                         I.                   CA
    1203               Mary                        M.                    TN
    1204            Christopher                    G.                    OH
    1205               David                        E.                   NV
    1206              Edward                       B.                    NJ
    1207               Philip                       T.                   CO
    1208             Christina                      T.                   CO
    1209               James                       E.                    CT
    1211               Alicia                       J.                   CA
    1212                Tom                         S.                   VA
    1213                Guy                        V.                    TX
    1214             Anthony                        P.                   NY
    1215              Patricia                     C.                    WI
    1216              Michael                       F.                   VA
    1217              George                       T.                    CO
    1219             Naeshaun                      B.                    VA
    1220              Jayson                       K.                    NV
    1221                Lee                        K.                    IL
    1223               Jason                       M.                    PA
    1225               David                       G.                    CA
    1226               Aaron                       K.                    VA
    1227              Dennis                       L.                    FL
    1228               Maria                        L.                   FL
    1229              Megan                        H.                    MA
    1233              William                      R.                    CA
    1234              Sharon                       R.                    CA
    1235               Laura                        I.                   VA
    1236              Steven                        I.                   VA
    1237               Henry                       C.                    VA
    1238               James                       C.                    LA

                                  Page 25 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 27 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    1239              Jessica                       C.                    LA
    1240               Gene                         W.                    PA
    1242               Lynn                         M.                    NY
    1243               Mary                         T.                    PA
    1244                Carl                        G.                    VA
    1247               Glenn                         J.                   IL
    1248             Michael                        C.                    CO
    1253              Tommy                         H.                    AL
    1255              August                        M.                    CA
    1257             Jeremiah                       K.                    CA
    1259             Catherine                      K.                    IL
    1261              Arlene                        W.                    OR
    1262               Peter                        A.                    OR
    1263              Sarena                        B.                    OR
    1264                 Lee                        C.                    OR
    1265               Maria                        M.                    OR
    1269             Michelle                       O.                    GA
    1270               James                        O.                    GA
    1271               Betsy                        A.                    VA
    1272              Logan                         A.                    VA
    1275               Devin                         S.                   CA
    1276               David                         S.                   CA
    1278              Lauren                         L.                   NY
    1280              Felicia                        E.                   VA
    1281                John                        K.                    VA
    1282               Philip                       M.                    OH
    1283          Douglas-Emery:                    A.                    TX
    1286               Linda                        B.                    MA
    1287               Craig                         S.                   ND
    1288                Dale                         T.                   PA
    1289                John                        H.                    PA
    1290               David                        D.                    NY
    1291             Michael                        L.                    GA
    1292             Douglas                        W.                    MA
    1293              Megan                         K.                    GA
    1296               David                         S.                   MA
    1297              Tanisha                       M.                    AZ
    1298               James                         S.                   MA

                                   Page 26 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 28 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1299              Amber                         S.                   OH
    1300               Shari                       W.                    SD
    1302              Bobby                        G.                    TX
    1304              Russell                       J.                   MD
    1305             Sumitra                       C.                    CA
    1308               David                        L.                  WA
    1309                Kari                       L.                   WA
    1310             Margaret                      R.                    FL
    1311             Bradley                       G.                    FL
    1313              Nancy                        B.                    IL
    1315              Sandra                       M.                    NY
    1316                Eric                        L.                   NJ
    1317             Michael                       K.                    TX
    1318              Patricia                     R.                    PA
    1322                Eric                       B.                    MI
    1323            Christopher                    H.                    IN
    1325                Max                         P.                   NV
    1326                Ting                        P.                   NV
    1327             Christina                     A.                    NH
    1328              Trevor                       M.                    WI
    1331               Kelly                        J.                   IN
    1333               Maria                       R.                    FL
    1335              Louella                      L.                    PA
    1336               Jason                       G.                    MN
    1338                Paul                       R.                    FL
    1339             Michelle                      R.                    FL
    1340             Candice                       G.                    CA
    1341               Mark                        G.                    CA
    1342               Mary                        C.                    IN
    1345              Johnny                        S.                   TN
    1349               Jamin                        P.                   TX
    1350               Joyce                        S.                   TX
    1351              Daniel                       C.                    IL
    1352               Chad                         S.                   IL
    1353               Susan                       A.                    MA
    1354              Patricia                     A.                    FL
    1355             Michael                       G.                    FL
    1357             Matthew                       T.                    VA

                                  Page 27 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 29 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1358              Donald                        S.                   IL
    1359              Richard                       J.                   VA
    1361                Ellen                       S.                   WI
    1362              Steven                        F.                   VA
    1364                Lisa                        S.                   MN
    1366              Darrell                      M.                    CO
    1367               Kellie                       F.                   MA
    1368             Abraham                       C.                    CA
    1369              Nicole                       C.                    FL
    1370               Doug                        K.                    MA
    1371              Patricia                     M.                    CA
    1372                Chad                        L.                   TX
    1373              Vincent                      L.                    CT
    1375             Wylenne                        T.                   MO
    1376               Jarrett                      J.                   NY
    1378               Carol                       W.                    FL
    1381             Christine                     G.                    FL
    1382               Stacy                        F.                  WA
    1383             Brandon                       H.                   WA
    1384               Vikki                       H.                    CA
    1385             Raymond                       R.                    OR
    1386             Jonathan                      R.                   WA
    1388              Randall                      B.                    NV
    1389               Hope                        B.                    NV
    1390              Yvonne                       L.                    NV
    1393             Gregory                       G.                    NV
    1395              Shelby                       H.                    NV
    1396               Laura                        F.                   NV
    1399             Vladimia                      K.                    NV
    1400              Robert                        F.                   NV
    1401             Christina                      S.                   NV
    1402              Andre                        G.                    NV
    1403               Buffy                       G.                    NV
    1404               Marie                       W.                    NV
    1406              Nancy                         P.                   NV
    1407              Valerie                      M.                    NV
    1408                Peter                       T.                   NV
    1409                Eric                        S.                   NV

                                  Page 28 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 30 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1410             Michael                        S.                   NV
    1411               Derek                        P.                   NV
    1412              Jerome                        S.                   NV
    1413               Julia                       M.                    NV
    1414               Paris                       M.                    NV
    1415               Emily                       M.                    NV
    1416               Glenn                        L.                   NV
    1418              Patricia                     L.                    MA
    1419               Dale                        W.                    MO
    1421               Larry                       B.                   WA
    1426                Kurt                       D.                    MD
    1427             Francine                      H.                    MD
    1428               Carol                        L.                   NC
    1431              Daniel                       H.                    NV
    1433               Diane                       M.                    TX
    1434               Carol                       R.                    TX
    1435              Robert                       R.                    TX
    1436              Sammy                         L.                   CA
    1437             Michael                        J.                   MA
    1438               Kerri                       G.                    MA
    1439               Carol                       K.                    DC
    1441             Jeremiah                      R.                    IL
    1442               Renee                       G.                    IL
    1443               Edith                        T.                   PA
    1444               Devin                        T.                   FL
    1445              Sherry                       R.                    FL
    1447             Andrew                        R.                    CA
    1448             Salvatore                      T.                   PA
    1450            Christopher                    M.                    PA
    1451             Thomas                        G.                    FL
    1455               Mary                        E.                    MD
    1458              Jimmie                        S.                   LA
    1459             Jonathan                      N.                    IL
    1462              Nathan                       B.                    MI
    1463             Michael                       B.                    NY
    1464             Timothy                       B.                   WA
    1465             Whitney                       B.                   WA
    1467             Anthony                       W.                    CT

                                  Page 29 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 31 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1468              Robert                        S.                   NY
    1469               Paul                         J.                   NY
    1470             Maxwell                       T.                    CO
    1471               Kevin                       C.                    CA
    1472              Jessica                      B.                    OK
    1473               Mark                         P.                   VA
    1474                Erik                       K.                    MD
    1475               Leon                        H.                    CA
    1476              Zelimir                       L.                  WA
    1480              Joshua                        S.                  WA
    1481              Martin                       B.                    MD
    1482              Vivian                       B.                    MD
    1483              Bradley                      C.                    MI
    1487               Mary                         S.                  WA
    1489               Candi                       R.                    TN
    1490              Marion                        F.                   SC
    1491              Donna                         J.                   TX
    1494               David                       O.                    CA
    1496             Mitchell                      B.                    OK
    1497             Katherine                     M.                    CO
    1501              Robert                       C.                    NC
    1503             Thomas                        N.                    UT
    1504              Daniel                        P.                   DC
    1507               Sonia                       T.                    IL
    1508              Robert                        T.                   IL
    1509               Brett                       C.                    PA
    1510            Magdalena                      B.                    CA
    1511               Jack                        N.                    NY
    1512            Alexander                       F.                   NJ
    1513              Lauren                        F.                   NJ
    1516              Martha                       K.                    MD
    1519                Carl                       W.                    OR
    1521             Amanda                        E.                    NJ
    1525               Bryn                         F.                   CO
    1527             Caroline                       P.                   PA
    1528              Cheryl                       R.                    MD
    1530             Christine                     A.                    NY
    1531             Christine                     D.                    MO

                                  Page 30 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 32 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1532                Clark                      H.                    MN
    1534               Daniel                      H.                    MN
    1535               David                       H.                    VA
    1536             Demonta                       R.                    TX
    1538               Diane                       M.                    AZ
    1539              Douglas                      D.                    MO
    1545               Ginger                      H.                    UT
    1546                Holly                       P.                   VA
    1547                Hope                       G.                    IL
    1548            Jacqueline                      S.                   NV
    1549               James                       B.                    NV
    1552              Jennifer                     M.                    HI
    1554                Joel                       V.                    NV
    1556               Joseph                      B.                    NV
    1557             Josephine                     D.                    TX
    1559                Juan                       R.                    NV
    1563                Kim                        R.                    NC
    1566             Lawrence                      Y.                    CA
    1568               Linda                       B.                    PA
    1569               Linda                        S.                   NV
    1570               Linda                       D.                    GA
    1572                Lisa                        L.                   MN
    1576               Luther                      C.                    CA
    1578              Maggie                       Y.                    CA
    1584                Mary                       D.                    NJ
    1586              Mathew                        S.                  WV
    1587              Matthew                      G.                    IL
    1588              Matthew                       S.                   IL
    1589            Maximilian                     R.                    FL
    1590              Michael                      G.                    NV
    1591              Michael                      R.                    TX
    1592              Michael                      L.                    NY
    1593              Minerva                      G.                    IL
    1595            Omotinuke                       J.                   MD
    1598                Peter                      O.                    NV
    1600               Regine                      B.                    CA
    1601              Richard                       I.                   NY
    1602               Robert                      G.                    IL

                                  Page 31 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 33 of 74
                           Timely and Valid Exclusions

JND Identifier       First Name            First Initial of Last Name   State/Province
    1603               Rochelle                          S.                   NV
    1604                Sandra                          M.                    AZ
    1605               Sanford                          B.                    NV
    1607                Shawn                           W.                    MN
    1608                Sheila                          C.                    SC
    1609                Shelly                           S.                   MT
    1610               Stanley                          B.                    OH
    1612               Stephen                          D.                    NJ
    1614               Takeshi                          N.                    NC
    1615               Tamera                           C.                    GA
    1616                  Ted                           C.                    NV
    1617               Thomas                           D.                    GA
    1618               Timothy                           J.                   HI
    1619               Timothy                          C.                    AZ
    1620               Tommy                            D.                    TX
    1621                Tracey                          W.                    NV
    1623               Vanessa                          U.                    FL
    1624                 Vicki                           F.                   TX
    1625             Wenceslao                          M.                    NV
    1626               Zachary                           P.                   VA
    1628              Alexander                         H.                    NY
    1631                Connie                          C.                    TX
    1632                Emily                            P.                   ME
    1633                  Eric                          N.                    FL
    1635                Francis                         W.                    NY
    1640                Terrie                           S.                   TX
    1641              Theodore                          R.                    TN
    1643                David                           K.                   WA
    1646                 Amy                             T.                   NY
    1650                 Celia                           S.                   VA
    1651             Christopher                        A.                    SC
    1652         Christopher-Michael                    N.                    CA
    1653                 Craig                          G.                    CA
    1655                Jeffrey                         H.                    NY
    1656                 John                            T.                   CA
    1659               Kathleen                         D.                    FL
    1660                 Linda                           T.                   CA
    1663              Randolph                          W.                    CA

                                       Page 32 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 34 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1665              Rhonda                       W.                    OK
    1666              Robert                       A.                    NY
    1667             Samantha                      A.                    SC
    1668              Tingkit                      M.                    CA
    1669              William                      W.                    CT
    1670             Adrienne                      C.                    DE
    1671             Alejandro                     G.                    GA
    1675              Bonnie                       H.                    PA
    1677               Brian                        P.                   PA
    1678               Chris                       K.                    FL
    1680               David                       R.                    IL
    1681             Deborah                        S.                   AK
    1682                Eric                        S.                   MA
    1683               Hans                        K.                   WA
    1684             Jefferson                      I.                   LA
    1689              Kristin                      C.                    CO
    1695              Mathew                       G.                    DC
    1696             Matthew                       W.                    HI
    1697               Paul                         F.                   TX
    1699              Robert                       A.                    NC
    1700               Sarah                       W.                    TX
    1701             Shawntay                       F.                   DE
    1702              Shayna                       K.                   WA
    1703              Steven                       Y.                    AK
    1704               Teala                       C.                    NV
    1705             Timothy                       K.                    MI
    1706              Tonya                        K.                    FL
    1707              Tyesha                       D.                    CA
    1709              Akeem                        R.                    GA
    1710               Akili                       D.                    NV
    1711               Alan                        B.                    NC
    1713               Anna                        H.                    FL
    1715            Christopher                    M.                    NC
    1720              Dennis                       E.                    OR
    1721              Dennis                       M.                    IA
    1722              Donald                        P.                   TX
    1724               Dugal                       U.                    FL
    1725               Enric                       R.                    CA

                                  Page 33 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 35 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1726              Gerald                       G.                    ID
    1727              Gregory                      K.                    NY
    1729               James                       E.                    NV
    1730                Jana                        P.                   CA
    1731               Jason                       K.                    NV
    1733                 Joe                       C.                    KS
    1736             Katharine                      S.                   TX
    1738              Laiken                       G.                    CA
    1740              Lindsey                      G.                    AZ
    1741              Lorilee                      D.                    OK
    1743              Marilyn                      E.                    OR
    1744               Mark                        W.                    AZ
    1745             Matthew                       K.                    VA
    1749              Patricia                     C.                    FL
    1750                Paul                        S.                   OH
    1751                Paul                        P.                   IL
    1753              Ramona                       C.                    CA
    1755                Rex                         F.                   MO
    1758                Sam                         P.                   CO
    1760                Sean                        S.                   IL
    1762               Stacey                      C.                    NV
    1764             Stephanie                     B.                    NV
    1765              Steven                       B.                    NC
    1767              Thomas                       B.                    CA
    1768              Thomas                        S.                   TX
    1770               Velma                       W.                    NC
    1771             Veronica                       S.                   IL
    1772             Yonatan                       N.                    CA
    1774                Amy                        B.                    MN
    1776              Bethany                       S.                   DC
    1778              Clenery                      M.                    IL
    1780               Jason                       R.                    CA
    1783             Kimberly                       S.                   CO
    1786               Mark                        L.                    FL
    1787              Maryse                       R.                    MO
    1788             Meredith                      O.                    VA
    1789              Mustafa                      A.                    NJ
    1792              Robert                        S.                   TN

                                  Page 34 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 36 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1793               Ryan                         P.                   MN
    1794              Samuel                        P.                   MT
    1795            Alexandra                       P.                   MI
    1796              Aurelia                       P.                   MI
    1797               Brian                       R.                    PA
    1798                Eric                        P.                   ID
    1799                Gail                        T.                  AR
    1801              Gregg                        D.                    PA
    1802               James                       L.                    MI
    1807             Veronica                       P.                   ID
    1809               Claire                      T.                    VA
    1812              Debra                         F.                   MN
    1813              Debra                        M.                    VA
    1814               James                       D.                    MA
    1816             Jennifer                      L.                    NV
    1818               Mary                        M.                    IL
    1819             Matthew                        S.                   CA
    1820            Meeyoung                       L.                    OK
    1821              Robert                        F.                   MN
    1822               Scott                       L.                    OK
    1823              Sergiu                        P.                   MI
    1825             Susanne                       G.                    TX
    1826              Victor                       M.                    NV
    1827             William                       R.                    OH
    1828              Alaric                       C.                    NV
    1830              Anoni                        H.                    CA
    1832               Barry                       H.                    NV
    1833              Chanell                      B.                    NJ
    1834             Christina                      S.                   NV
    1835            Christopher                     T.                   NY
    1837             Douglas                       C.                    NV
    1838             Enrique                       H.                    CA
    1839               Erica                        Z.                   VA
    1840             Ernestine                      E.                   CA
    1842              Gerard                        P.                   IN
    1845              Jeffrey                      W.                    NY
    1849              Kaylin                       M.                   WA
    1852              Lillyan                      G.                    NV

                                  Page 35 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 37 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1854               Marco                       D.                    CA
    1855              Robert                       C.                    PA
    1859              Wendy                        W.                    NY
    1862               Carol                       B.                    PA
    1863               Carol                        E.                   NC
    1864            Christopher                    G.                    CA
    1865               Daniel                      K.                    VT
    1869             Elizabeth                      F.                   CA
    1871               Evan                        H.                    NY
    1872            Feei-Ching                     C.                    NY
    1874              George                       N.                    AZ
    1875                Hui                        N.                    IN
    1876               Jabari                       S.                   GA
    1877                Jack                       N.                    NY
    1881               Jenna                       W.                    CA
    1885             Jonathan                      T.                    TX
    1886              Joseph                       D.                    NJ
    1890                Julia                      M.                    CO
    1891             Katherine                     K.                    GA
    1892              Kelsea                       K.                    NV
    1893             Kikelomo                      B.                    TX
    1894              Krystal                      A.                    AL
    1896                Kyle                       M.                    CO
    1898               Liam                         S.                   CA
    1899                Lisa                       R.                    FL
    1900               Mark                        G.                    IN
    1901              Marvin                       K.                    GA
    1902             Maryland                      V.                    VA
    1903              Nekeya                       O.                    KS
    1904              Oksana                       G.                    CA
    1905              Pamela                       R.                    VA
    1906                Paul                       R.                    FL
    1907                Paul                       W.                    CA
    1908              Phyllis                      H.                    VA
    1910              Reagan                       W.                    CA
    1911              Robert                       W.                    SC
    1914              Sharon                       K.                    PA
    1915              Stephen                       S.                   MA

                                  Page 36 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 38 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1916               Steven                      O.                    PA
    1917             Thomas                        U.                    CO
    1919             Jayeong                       Y.                    UT
    1920              Johmeil                      M.                    NY
    1922                Max                         P.                   OK
    1923              Ronald                       N.                    MA
    1925               James                       W.                    MA
    1930                Mark                        P.                   SC
    1931                Oleg                       B.                   WA
    1932               Robert                      O.                    OR
    1933               Sarah                       D.                    GA
    1934               Sarah                       W.                    IL
    1935               Yujin                       K.                    TX
    1938              Braven                       M.                    FL
    1941              Damon                        R.                    NV
    1944             Ekaterina                      S.                   PA
    1945                Evan                       O.                    CA
    1946               Gavin                        S.                   MS
    1947             Geoffrey                      M.                    CA
    1948             Gregory                       K.                    CA
    1951                Ilya                        S.                   PA
    1953                John                        S.                   VA
    1954                Julia                      R.                    FL
    1957              Midori                       K.                    NY
    1960             Riwanto                       M.                    NY
    1965               Steven                      W.                    VA
    1966                Trina                      D.                    CA
    1967              Valarie                       S.                   NY
    1968                Carla                      R.                    TX
    1969              Cristina                     W.                    FL
    1970                Dax                        K.                    CA
    1971             Douglas                        T.                   NC
    1972             Gregory                       H.                    OH
    1973               Jason                        P.                   TX
    1974             Jennifer                       J.                   NY
    1975             Katherine                     B.                    VA
    1977                Peter                       I.                   VA
    1978                Sean                       T.                    FL

                                  Page 37 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 39 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    1979              Sherrie                      H.                    OH
    1982             Richard                       K.                    NH
    1983              Robin                         P.                   MI
    1984               Karl                         P.                   MI
    1985               Daryl                       D.                    TN
    1986              Sherry                       D.                    TN
    1987              Bryan                        D.                    IN
    1988              Deloris                      D.                    NC
    1989              Daniel                       H.                    FL
    1990             Andrew                        R.                    SC
    1991            Christopher                    C.                    NE
    1992              Darian                       D.                    NJ
    1993               Gary                         S.                   PA
    1995              Francis                      O.                    CT
    1997              Charles                      C.                    NY
    1999               Bruce                       H.                    NC
    2000             Marilyn                       H.                    NC
    2001               Nora                        M.                    OH
    2002              Horace                        J.                   OH
    2003               Tuan                        L.                    NJ
    2004             Viviana                       T.                    NJ
    2005               Peter                        F.                   TX
    2006             Cynthia                        T.                   VA
    2009               John                         F.                   FL
    2010               Paul                        R.                   WA
    2011               Jona                        H.                    KY
    2012             Maryland                      V.                    NY
    2013               Ryan                        R.                    OR
    2015              Sandra                       H.                    NJ
    2016               Bette                        T.                   NC
    2017              James                        D.                    FL
    2019              Robert                       B.                    TX
    2020              Dianne                       M.                    CA
    2021            Christopher                    M.                    IA
    2022              Leslie                       B.                    CA
    2023              Connie                       M.                    FL
    2025              Kweku                        B.                    MD
    2026            Jacqueline                     C.                    NJ

                                  Page 38 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 40 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2027               Tracy                       M.                    MI
    2029               Jaime                       M.                    FL
    2030              Egidio                       G.                    FL
    2032               Nancy                       C.                    NJ
    2037                Sara                       K.                    MD
    2038              Stephen                      K.                    MD
    2044              Tommy                         J.                   TX
    2045               Sherri                      C.                    NV
    2046              Yansey                       D.                    NV
    2047              Adriana                      R.                    NV
    2048               Diane                       C.                    NV
    2050              Ashley                       L.                    NV
    2051              Martha                        L.                   NV
    2053               Scott                        S.                   NV
    2054               Nina                         S.                   NV
    2055               Scott                        F.                   NV
    2056              Daphne                       B.                    TX
    2057               Irene                       N.                    NV
    2058               Lance                       N.                    NV
    2059               Brian                       C.                    VA
    2060             Lawrence                      H.                    IL
    2061              Marshel                      H.                    IL
    2062              Barbara                      U.                    MO
    2063            Alexander                       E.                   FL
    2064               Corey                       M.                    NJ
    2065                Rex                         J.                   CA
    2066              Randall                      K.                    TX
    2067                Julie                      K.                    TX
    2068               David                       R.                    OK
    2070                Cara                       C.                    VA
    2071               Kevin                        L.                   OR
    2073             Yasemin                       A.                    NJ
    2074              Michael                      B.                    CA
    2075               Linda                        T.                   CA
    2076             Guochun                       L.                    MA
    2077               Beau                        B.                    CO
    2079              Ronald                        L.                   IN
    2080              Zachary                      M.                    GA

                                  Page 39 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 41 of 74
                           Timely and Valid Exclusions

JND Identifier       First Name           First Initial of Last Name   State/Province
    2081                Sasha                          M.                    GA
    2082               Yvonne                          W.                    TX
    2084                 Paul                          L.                    VA
    2085              Marjorie                         G.                    AZ
    2086                  Ali                           T.                   CA
    2087                 Troy                          D.                    OK
    2088            Christopher                        V.                    FL
    2089                Deron                          C.                    MO
    2090               Charles                          I.                   MA
    2091              Hershula                         D.                    SC
    2093               Jannine                          S.                   NH
    2094                Kasra                          H.                    MA
    2095                Mahsa                          H.                    MA
    2097               Kenneth                         M.                    UT
    2100               Richard                         B.                    MA
    2101                Nancy                          M.                    VA
    2102                Katrin                         K.                    NY
    2103                Stuart                          T.                   PA
    2107               Tamika                           J.                   CA
    2109              Roxanne                          E.                    NV
    2112                James                          H.                    NV
    2114              Roderick                         C.                    NV
    2117               Lauren                          D.                    MI
    2119               Randall                         R.                    OH
    2120               Sandra                          R.                    OH
    2122         Willie-Washington:                    W.                    NV
    2123              Kimberly                         W.                    NV
    2126               Leanne                          M.                    FL
    2127             Karl-Alan:                        M.                    FL
    2128               Marilyn                         G.                    FL
    2129               Joshua                          G.                    FL
    2130                James                          K.                    MD
    2131                Linda                          K.                    MD
    2132               Dmytro                           P.                   NY
    2133               Roberta                         R.                    CA
    2134              Nicholas                         A.                   WA
    2135                Chase                          M.                    SD
    2136                Peter                           J.                   CA

                                      Page 40 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 42 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2138              Robert                        J.                  WA
    2139              Chikita                       S.                   DC
    2140               Deepa                       B.                    CA
    2141             Nicolette                      S.                   CA
    2143            Rosemarie                      C.                    MI
    2145              Merion                        F.                   NV
    2146             Fortunato                      J.                   NV
    2148           Raynette-Lin                     F.                   NV
    2150             Michelle                      R.                    CA
    2151               David                       G.                    FL
    2152                Erin                       G.                    FL
    2153              Jessica                      M.                   WA
    2154              Joseph                       M.                   WA
    2157              Beverly                      H.                    IL
    2158                John                       R.                   WA
    2161                 Ivy                       M.                    UT
    2162            Jacqueline                     G.                    TN
    2163               Juliet                      D.                    MD
    2164               Colin                        S.                   MO
    2167               Akiko                       M.                    PA
    2169              Lucille                       P.                   MD
    2170             Matthew                        P.                   FL
    2173              Thomas                       M.                    FL
    2175              Cheryl                       W.                    CA
    2176               Linda                       H.                    TX
    2177               Linda                        P.                   CA
    2178              Rowene                       H.                    NY
    2179               James                       H.                    NY
    2180              Phoebe                       L.                    CA
    2181                Stan                       L.                    MA
    2182             Maureen                       A.                    PA
    2184             Kathleen                       T.                   MA
    2185                Paul                        S.                   CA
    2186                Jack                       M.                    NC
    2187              Darren                       A.                    FL
    2188                 Jim                       M.                    PA
    2190              Hitasha                      M.                    CA
    2191               Anna                        G.                    OK

                                  Page 41 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 43 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    2192              Paria                        T.                    VA
    2195              Erica                        G.                    CT
    2196              Vicki                        H.                    WI
    2201              Vicki                         P.                  WY
    2202              Daniel                       T.                    UT
    2205               John                         L.                   CA
    2206               Firat                       G.                    OK
    2207              Diana                        L.                    CA
    2209             Anslem                        D.                    MD
    2210             Joseph                        R.                    OR
    2211              James                        W.                    FL
    2212               Faye                         S.                   SC
    2213             Dolores                       B.                    MI
    2214           Manikandan                      R.                    CA
    2215           Gandhimathi                     M.                    CA
    2218              Mansa                        B.                    MD
    2219              Mary                         T.                    MI
    2220               John                         S.                   TX
    2222             Patricia                      T.                    CA
    2224              David                         T.                   CA
    2225            Alexander                      C.                    MA
    2226             Zachary                       C.                    CA
    2227              Bryan                        B.                    GA
    2228               Shaa                        C.                    MA
    2229             Naomi                         R.                    KY
    2230             William                       R.                    KY
    2231             Jessica                        S.                   GA
    2232                Jon                        A.                    CO
    2233              James                         S.                   AZ
    2234             Robert                        B.                    HI
    2235              Elena                        E.                    NV
    2236             Martin                        H.                    IL
    2237             Alison                        B.                    CO
    2238             Mariann                        S.                   CO
    2239             Rodney                        H.                    UT
    2240             Sidney                        W.                    CA
    2244             Yolanda                       N.                    CA
    2245             Wilson                        C.                    CA

                                  Page 42 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 44 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2247                Tena                       G.                    CA
    2248              Steven                       M.                    CA
    2249              Sandra                       M.                    CA
    2250             Steffanie                     T.                    CA
    2251              Sabina                       A.                    CA
    2252             Richard                       N.                    CA
    2253                Raul                       B.                    CA
    2254              Monica                        S.                   CA
    2258               Linda                        S.                   CA
    2259              Junius                       N.                    CA
    2261                Eula                       D.                    CA
    2264               David                       A.                    CA
    2266             Cynthia                        J.                   CA
    2268             Christine                     Q.                    CA
    2269             Christine                     N.                    CA
    2272             Andrew                        R.                    CA
    2273               Alicia                      W.                    TX
    2274              Hamid                        M.                    MS
    2275            Rosemary                        F.                   FL
    2276               Todd                        N.                   WA
    2278               Kevin                        F.                   FL
    2282               Steve                       R.                    CO
    2284              Fatima                       R.                    NV
    2285                Fara                       R.                    NV
    2286                Felix                      R.                    NV
    2287              Dennis                       M.                    CA
    2289              Alexey                       T.                   WA
    2290              Jeremy                       A.                    CA
    2291              Sharon                       R.                    MO
    2292               Allen                       M.                    MN
    2293               Anna                        O.                    WI
    2294                Peter                      C.                    NH
    2296              Jerome                       G.                    MI
    2297               Judith                      G.                    MI
    2298              Haneef                       A.                    NJ
    2299              Daniel                       O.                    NY
    2300            Alibrando                       P.                   CA
    2301              Natalie                      N.                    CA

                                  Page 43 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 45 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2302              William                      H.                    NY
    2303              George                       G.                    NY
    2305               Yusef                       A.                    PA
    2306               Hunter                       S.                   KY
    2307              Wesley                        S.                   KY
    2308              Jabrina                      B.                    IL
    2309                Mark                       B.                    CA
    2311             Francesca                     A.                    MA
    2312            Immaculata                     G.                    MA
    2313              Edward                         .                   MA
    2314                 Jose                      V.                    GA
    2317               Jeffrey                     D.                    CO
    2318               Kevin                       B.                    HI
    2319                 John                       J.                   OH
    2321              Suzanne                      O.                    NJ
    2322                Sarah                       S.                   TX
    2324             Laurence                       I.                  WA
    2325              Delight                      R.                   WA
    2327               Collin                      C.                    GA
    2329                Justin                     C.                    MA
    2330              George                        J.                   NC
    2331              Jeremy                       H.                    NY
    2333              Audrey                        J.                   NV
    2334               Darrel                       J.                   NV
    2336               Sergio                      V.                    NV
    2340              Ernesto                      C.                    NV
    2341              Lorenzo                       S.                   CA
    2342                Senja                      G.                    TX
    2343                Carol                      M.                    MA
    2344                 Karl                      G.                    CA
    2345               Gloria                       T.                   CA
    2346               Susan                       B.                    MN
    2347                 Eric                      W.                    MN
    2348                Zareh                       S.                   CA
    2351              Thomas                       M.                    PA
    2352               Cindy                       H.                    PA
    2355              Charles:                      J.                   FL
    2356                Brett                       J.                   NY

                                  Page 44 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 46 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2359               Dana                        L.                    TX
    2360             Monique                        F.                   FL
    2361               Raivis                      K.                    CA
    2362              Sukaina                       S.                  WA
    2363            Christopher                    M.                    UT
    2364               Lynda                       M.                    UT
    2367             Hsiu-Wei                      L.                    CA
    2368              Pamela                       N.                    NC
    2369              Wesley                       H.                    OH
    2371               Tyree                       L.                    CA
    2373              Camille                      C.                    FL
    2374              Lynette                      C.                    FL
    2376             Jingquan                      L.                    NY
    2377                 Sai                        L.                   MI
    2378              Joseph                       B.                    CA
    2380                John                       C.                    PA
    2381             Nicholas                       S.                   MN
    2382              Cathryn                       S.                   PA
    2383               Lydia                       O.                    CA
    2384               Mario                       O.                    CA
    2385               Samar                        S.                   CA
    2387              Tamara                        J.                   OK
    2389              Steven                       A.                    OR
    2390               Janet                       A.                    OR
    2391             Brittany                      M.                    UT
    2393               Sohail                      A.                    NY
    2395             Kenneth                        S.                   AE
    2397               Mark                        E.                    TX
    2399               Karen                        F.                   LA
    2401               Justin                      D.                    MD
    2404             Christine                     R.                   WA
    2405            Christopher                    R.                    KY
    2408            Christopher                    R.                    CO
    2409              Angela                       W.                    MA
    2410            Aravinthan                      S.                   MA
    2412              Barbara                      N.                    NY
    2415               Heidi                       H.                    CA
    2416              Sharon                        T.                   CA

                                  Page 45 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 47 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    2417              Steven                        H.                    CA
    2418              Ronald                         J.                   CA
    2419              George                        K.                    MN
    2421             Nathaniel                       F.                   MA
    2424               Yulia                         P.                  WA
    2425              Robert                        C.                    OK
    2427              Marsha                        C.                    OK
    2428              Shontia                        J.                   FL
    2430              Margot                        R.                    MD
    2433               Dawn                          S.                   CA
    2434               Floyd                        T.                    CA
    2437              Maksim                         L.                  WA
    2438              Edward                         F.                   MI
    2441               Brian                        H.                    OH
    2443                Clay                        B.                   WA
    2445               Diana                        A.                    PA
    2448               James                         F.                   PA
    2449               James                        M.                    TX
    2450               James                         F.                   TN
    2452                John                        C.                    AZ
    2453                Julie                        E.                   TN
    2454                Ken                         O.                    MO
    2455                Lisa                        M.                    PA
    2458               Minal                        G.                    OK
    2459              Richard                       E.                    VA
    2460               Ruby                          F.                   PA
    2461              Shawn                         R.                    AR
    2462             Stephanie                       F.                   PA
    2464              Vincent                       B.                    NV
    2465              Vishal                        G.                    OK
    2466              Charles                       D.                    ID
    2467               Bryan                        K.                    KS
    2469               Noah                          S.                   OH
    2472              William                        F.                   CA
    2473             Jonathan                       W.                    TN
    2475          Richard-Leroy:                     J.                   CA
    2477             Christian                       F.                   PA
    2478              Shaina                         P.                   NV

                                   Page 46 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 48 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2480             Michael                        P.                   IL
    2481              Cedric                       E.                    FL
    2482               Karen                       B.                    MD
    2483             Stephen                       H.                    NC
    2484               Susan                       H.                    NC
    2485             Henrietta                     B.                    LA
    2486             Bradley                       A.                    CA
    2487                Ans                         I.                   DC
    2488                Gael                       C.                    CA
    2489               Heidi                       C.                    CA
    2491               Brian                       H.                    KY
    2492                Rose                       L.                    MD
    2493               James                       B.                    IN
    2497              Walter                        F.                   CO
    2498                Julie                      C.                    MN
    2499              Patricia                     C.                    DE
    2500               Frank                        F.                   CO
    2501               Kelly                       R.                    CO
    2502             Deborah                        P.                   IL
    2503             Harrison                      G.                    NY
    2504               Devin                       H.                   WA
    2505               Wade                        W.                    MD
    2506               Anna                        D.                   WA
    2507             Terence                       T.                    NY
    2508             Dorothy                       T.                    NY
    2509               Tiana                       C.                    DE
    2510               Cindy                       A.                    TX
    2511               Craig                       H.                    FL
    2512               Justin                      W.                    CA
    2513              Steven                       C.                    FL
    2514               Sarah                       W.                    CA
    2516             Kendall                       M.                    TX
    2517                Eric                        J.                   FL
    2518             Barbara                       G.                    MD
    2519               Judith                      C.                    MD
    2522                Adil                       K.                    NJ
    2523              Siarhei                      H.                    NC
    2524             Timothy                       R.                    WI

                                  Page 47 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 49 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2530               Sing                        Y.                    NY
    2532                 Ah                         L.                   NY
    2533              Melissa                      L.                    IA
    2534            Christopher                     L.                   IA
    2535             Nathaniel                      J.                   FL
    2536               Jared                       B.                    FL
    2537              Leslie                       Y.                    FL
    2538                Lin                        Y.                    CO
    2539              David                        H.                    CO
    2540             Francine                       S.                   NJ
    2541               Mary                         S.                   VA
    2542             Norman                        C.                    MI
    2543               Edith                       C.                    MI
    2544               Brian                       W.                    MI
    2545                 Jo                        C.                    NC
    2546             Michael                       C.                    NC
    2548               Tong                         Z.                   NY
    2549                Hua                         Z.                   NY
    2551                 Ai                         Z.                   NY
    2552              Donald                       B.                    TN
    2553              Ecieno                       C.                    FL
    2554               Yuriy                        T.                   CA
    2555              Yelena                       O.                    CA
    2556            Aleksandr                      O.                    CA
    2557             Kimberly                      G.                    TN
    2558               Reem                        H.                    MA
    2559               Mark                         S.                   VA
    2560              Marcia                       C.                    FL
    2562              Daniel                       C.                    NJ
    2563              Sheila                        S.                   OH
    2564               Brett                        S.                   OH
    2565              Caitlin                      H.                    OR
    2567                Jodi                       C.                    OR
    2568             Matthew                       M.                    NC
    2569              Bettina                      H.                    NC
    2570             Mallory                       C.                    OR
    2573             Bernard                        S.                   IL
    2574               Brian                       G.                    MI

                                  Page 48 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 50 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2575                Jodi                       H.                    CA
    2577             Matthew                       R.                    MI
    2578              Krista                        P.                   CT
    2579               Diana                       L.                    VA
    2580              Stacey                        S.                   VA
    2581             Cortney                        S.                   PA
    2582             Michael                       T.                    PA
    2583              Adam                         R.                    VA
    2584            Dominick                        J.                   FL
    2585              Karen                        V.                    FL
    2586              Rayon                        B.                    NJ
    2587                 Di                        W.                    TX
    2588                Xue                        D.                    TX
    2589                John                       R.                    AZ
    2591             Julianne                       P.                  WA
    2592                Beth                       M.                    AZ
    2593              Connie                       D.                    AZ
    2594              Curtis                       B.                    AZ
    2595              Kevin                        C.                    NY
    2596               Jessie                       S.                   TX
    2597               Susan                        S.                   TX
    2598             William                        F.                   CA
    2599              Charles                       F.                   IL
    2603               Todd                         P.                   CT
    2605              Vickie                       B.                    IN
    2606               Laura                       K.                    NJ
    2609               Sarah                       C.                    IL
    2610               Peter                       C.                    IL
    2612             Thomas                        R.                    NV
    2613              Jeffrey                      W.                    LA
    2614             Jyh-Kai                       W.                    LA
    2615            Tong-Chai                      W.                    LA
    2617                Sara                        P.                   UT
    2622              Keenan                        E.                   MD
    2623               Sarah                       A.                    NY
    2626              Robert                       B.                    MA
    2627               Ryan                        D.                    VA
    2630                 Ali                       M.                    NY

                                  Page 49 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 51 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2632              Rebecca                      E.                   WA
    2634               Milton                       S.                   FL
    2635                Linda                       S.                   FL
    2636               Roxly                       Z.                    CA
    2637             Stephanie                     B.                    OH
    2638              Thomas                       B.                    OH
    2640              William                       I.                   OH
    2641                Daed                       N.                    NY
    2642              Ammar                        M.                    NY
    2643              Youssef                      M.                    NY
    2644               Bachar                      M.                    NY
    2645              Russell                      M.                    TX
    2647               Angel                       G.                    CA
    2648              Michael                       S.                   OH
    2650               Angel                       H.                    OH
    2653               Briana                      B.                    OH
    2655              Gregory                       F.                   OH
    2656             Thaddeus                      W.                    PA
    2657                Laura                      W.                    PA
    2658                Ruel                        S.                   FL
    2663                Shani                      H.                    OH
    2664              George                       N.                    FL
    2665                Stella                     N.                    FL
    2666             Milagros                      N.                    FL
    2667               Arthur                      N.                    FL
    2670              Meghan                       H.                    VA
    2671                Odis                        I.                   VA
    2672               Hollie                      M.                    GA
    2673              Michael                      M.                    GA
    2674                Ruth                        Z.                   VA
    2676                Gary                       V.                    VA
    2677              Dorothy                       S.                   NC
    2678              Virginia                      F.                   NC
    2680              Jennifer                     C.                    MT
    2681              Audrey                       C.                    MT
    2683               James                        J.                   NY
    2684               Jessica                     B.                    ME
    2686               Kathy                       W.                   WA

                                  Page 50 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 52 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2689              Brenda                       W.                    CA
    2690              William                      V.                    GA
    2691              Michael                      M.                    NY
    2692              Donna                         F.                   MN
    2694                 Jon                       N.                    FL
    2695             Nicholas                      W.                    CO
    2696             Courtney                      M.                    GA
    2697             Sangeeta                      N.                    DC
    2698                 Ivo                       K.                    DC
    2699              Andrea                       M.                    FL
    2700              Robert                       W.                    FL
    2703               Sheryl                      W.                   WA
    2704               Ryan                        R.                   WA
    2707                John                        T.                   NJ
    2708              Michael                      G.                    CA
    2709              Jessica                      B.                    IL
    2710            Christopher                    B.                    IL
    2711              Wendy                        B.                    CO
    2712              Steven                       B.                    CO
    2714              William                      B.                    CA
    2716              Jeffrey                       J.                   IL
    2717              Kameo                        T.                    OH
    2718                Gary                       C.                    IL
    2720               Laura                        J.                   IL
    2722                 Jon                       H.                    IL
    2724             Christian                     D.                   WA
    2725               Elana                       K.                    PA
    2727              Lauren                       W.                    OH
    2728              Andrei                       M.                    NY
    2730              Jocelyn                      Y.                   WA
    2731              Joshua                       M.                   WA
    2732               Travis                      H.                    TX
    2734               David                        E.                   TX
    2736             Sebastian                     R.                    CA
    2737              Marilyn                      M.                    SD
    2739              Daniele                       I.                   IL
    2742              Tiffany                       S.                   CA
    2744             Domininc                       P.                   TX

                                  Page 51 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 53 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2745             Treyvion                      H.                    OH
    2747             Howard                         J.                  WA
    2748             Andrew                        C.                    IL
    2749              Diane                         F.                   VA
    2751              Adriel                       A.                    CA
    2753              Tadele                       A.                    CA
    2754             Taiesha                       B.                    NC
    2755              Trudy                         S.                   SD
    2756             Stepehn                       D.                    SD
    2757              Jemor                        B.                    NC
    2759               Stacy                       L.                    MO
    2760             Darlene                        T.                   AL
    2761               John                        C.                    LA
    2763             Eleanor                       M.                    MI
    2764               John                        W.                    RI
    2765             Barbara                        L.                   MO
    2766             Timothy                        L.                   MO
    2767             William                        L.                   MO
    2768              Helen                        H.                    PA
    2769             Colleen                       B.                    PA
    2770              Robert                        F.                   NY
    2771              Ronald                       B.                    PA
    2773             Matthew                       R.                    NY
    2774              Steven                       D.                    CA
    2775             Shahram                       K.                    MI
    2776                Po                         W.                    TX
    2777               Carol                       D.                    OH
    2779            Jacqueline                     G.                    OH
    2781              Robert                        L.                   FL
    2782             Bre'Ona                       H.                    OH
    2783               Paulo                       A.                    AZ
    2784            Alexander                      B.                   WA
    2786              Ashish                        S.                  WA
    2789                Lily                        L.                   CA
    2790             Branden                       B.                    FL
    2791             Nicolette                     B.                    FL
    2792               Carol                       D.                    CO
    2793             Timothy                       D.                    CO

                                  Page 52 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 54 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2794              Nancy                         S.                   MD
    2795             Dorothy                       R.                    IL
    2796           Bakeerathan                     T.                    NY
    2797           Rasakumaran                     M.                    NY
    2798              Joseph                       R.                    IL
    2799              Adam                         C.                    NC
    2801                Lila                       C.                    NC
    2804             Nicholas                       L.                   MD
    2805              Elyssa                       K.                    NY
    2806              Nancy                        K.                    PA
    2807             Douglas                        L.                   CT
    2810              Steven                        J.                   CA
    2811             Gabrielle                     D.                    RI
    2812             Jennifer                       F.                   VA
    2813              Regina                        J.                  WA
    2814             Stephen                       B.                    NY
    2818             Melody                        O.                    GA
    2820               Scott                       G.                    GA
    2822              Becky                        R.                    OH
    2823             Romello                       M.                    AZ
    2824             Randell                       C.                    MO
    2825               Dinae                       C.                    MO
    2827            Cheyanne                       H.                    CO
    2828               Peter                       G.                    SC
    2829             Ranilesh                       P.                   CA
    2830            Aleksandra                      S.                   NC
    2831               Justin                      D.                    NC
    2833                Joan                       W.                    PA
    2834              Joanne                       G.                   WA
    2835               Carol                        S.                   NJ
    2836               Peter                        F.                   MA
    2837              Sandra                       N.                    OH
    2839             William                        L.                   NV
    2840             Douglas                       N.                    CO
    2842              Caron                        H.                    CO
    2843                Alan                       M.                    OR
    2844              Ronald                       W.                    MI
    2845              Vicky                        W.                    MI

                                  Page 53 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 55 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2847             William                       H.                    CT
    2852                Jack                       L.                    VA
    2853             Suzanne                       B.                    LA
    2854               Karen                       M.                    MD
    2855               Mary                        B.                    DC
    2857              Wendy                        Q.                    NY
    2858               Abby                        Q.                    TX
    2859            Alexander                      R.                    CA
    2861              Crystal                      M.                    CA
    2862              Jeremy                       M.                    CA
    2863              Roland                       W.                    OR
    2864               Tanya                       C.                    NJ
    2865             Danielle                      C.                    NJ
    2868             Clarence                      B.                    AZ
    2869              Phyllis                      B.                    NY
    2870                Neil                        J.                   SD
    2872              Jimmie                       B.                    IL
    2873              Poorna                       R.                    CA
    2875             Michael                       N.                    DE
    2880            Muhammad                       D.                    FL
    2881               Keith                        J.                   VA
    2882              Angela                       A.                    VA
    2885               Jemy                        A.                    CA
    2886                Julie                       L.                   PA
    2887             Wallace                        J.                   PA
    2888               David                        L.                   MA
    2890             Douglas                        T.                   NC
    2892               Lynn                        N.                    DE
    2893              Robert                        L.                   CA
    2895             Samone                        H.                    AZ
    2896               Carol                       D.                    MD
    2897              Alexia                       R.                    CA
    2899             Vincent                       G.                    CA
    2900               Keith                       L.                    NC
    2901               Mark                        B.                    NC
    2902             Amanda                        B.                    NC
    2903               Shea                         F.                   TX
    2904               Ryan                        H.                    MD

                                  Page 54 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 56 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2905              Jeanene                      L.                    CA
    2906                Joyce                      G.                    VA
    2907              Destinee                      L.                   AZ
    2909               Bonnie                       P.                   UT
    2910                 Dirk                       P.                   UT
    2911               Roger                        S.                   ND
    2912            Shauchenka                     D.                    CA
    2917              Michael                      V.                    NV
    2918               Erlinda                     C.                    NV
    2920              Alafijia                      T.                   MD
    2921                Jason                      M.                    CO
    2923               Harvey                      C.                    NJ
    2924               Joseph                      C.                    NJ
    2925                Joyce                      C.                    NJ
    2926              Jasmine                      B.                    NJ
    2927              Farshid                      B.                    NJ
    2928               David                       C.                    PA
    2930              Terrace                       E.                   CA
    2931                Jared                      H.                    NE
    2932                 Sara                      H.                    NE
    2933               Darlla                      B.                    SD
    2934              Sydney                       K.                    NC
    2935               Yajuan                      C.                    CA
    2936              Yolanda                       P.                   SC
    2938                 Erik                      O.                    TN
    2939               Pamela                      E.                    MI
    2940                Alice                       J.                   IN
    2942              Kathleen                      Z.                   NJ
    2943               David                       H.                    CA
    2944             Jacqueline                     S.                   IL
    2945                Faisal                     M.                    VA
    2946               Nadya                       M.                    VA
    2947               Megan                        S.                   PA
    2948               Debra                        S.                   PA
    2949               Steven                       S.                   PA
    2951              Herbert                       J.                   NC
    2952                Mark                       R.                    LA
    2953                Carol                      H.                    KS

                                  Page 55 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 57 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    2954             Gregory                       H.                    KS
    2955             Hongbo                         T.                   CA
    2960             Kathleen                      G.                    NJ
    2962              Patricia                     B.                    CA
    2963               Krista                      C.                    MD
    2965               David                       C.                    FL
    2966              Sandra                       M.                    GA
    2968             Michael                       H.                    VA
    2970              Kasha                        H.                    VA
    2971                Lois                        S.                   VA
    2972               James                        S.                   VA
    2973             Anthony                        J.                   FL
    2976             Thomas                        C.                    TX
    2978               Mary                        H.                    MN
    2979              Lynne                        H.                    MD
    2980              Mable                        D.                    NC
    2981              Marian                       D.                    NC
    2983             Bartram                       N.                    IL
    2986             Kateryna                       S.                   CA
    2987             Richard                       B.                    MD
    2988              Teresa                       B.                    OK
    2989                Mia                        H.                    PA
    2990              Robert                        F.                   PA
    2991                Beth                       W.                    NY
    2993               Keith                       A.                    HI
    2994              Darren                       V.                    IL
    2995               Sierra                      C.                    TN
    2996            Alexander                      B.                    CO
    2997              Dianne                       C.                    FL
    2998                Eric                       C.                    MD
    3002                Riva                        S.                   NY
    3003              Sophia                       B.                    CA
    3004                John                        P.                   NY
    3005              Sheryl                       H.                    UT
    3007                Eric                       A.                    CA
    3008              Rohan                        W.                    NY
    3009             Rachael                       N.                    NJ
    3010              Lorene                       M.                    FL

                                  Page 56 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 58 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3011              Lauren                        P.                   IL
    3013              Harold                        J.                   PA
    3015             Thomas                        W.                    CT
    3016               Bruce                        T.                   IL
    3017              Gerard                       B.                    IL
    3018              Donna                        B.                    IL
    3020              Martin                       C.                    NY
    3023                Toni                        S.                   WI
    3024            Francesco                       P.                   NJ
    3025              Deena                         J.                   NJ
    3026               David                       W.                    NY
    3027              Kristen                      H.                   WA
    3028             Matthew                       H.                   WA
    3031               Claria                       P.                   VA
    3032             Jonathan                      M.                    VA
    3039              Eltonia                       P.                   TN
    3040              Donald                       D.                    FL
    3049              Rhonda                       H.                    MI
    3050             Kimberly                      R.                    MN
    3052              Megan                        E.                    MI
    3053             Thomas                        B.                    PA
    3057            Hamidreza                      N.                    CA
    3058              Barbara                      M.                    SC
    3059               Elliott                     L.                    MN
    3060             Douglas                        E.                   MI
    3061               Alelie                      R.                    CA
    3062             Stephon                       H.                    TX
    3063              Joanna                       K.                    TX
    3065              Robert                       D.                   WA
    3067               Ingrid                       J.                   CO
    3069               Cathy                       C.                    MA
    3071                Julie                       P.                   OH
    3072                Gary                       C.                    OH
    3073             William                        L.                   MA
    3076                John                        P.                   ME
    3077               Jacob                       D.                    CA
    3079               Diane                       T.                    NY
    3080                Kyle                       W.                    CT

                                  Page 57 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 59 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3081              Daniel                       T.                    CA
    3082              Marika                       W.                    CT
    3083              Donald                       M.                    PA
    3085               Craig                       W.                    CT
    3086               Justin                      M.                    NY
    3087              Clarissa                     M.                    NY
    3090               Ryan                        W.                    MT
    3091              Bobby                        R.                    TX
    3092              Randal                       K.                    MI
    3094              Carmen                       C.                    FL
    3095               Helen                       B.                    VA
    3096             Benjamin                      V.                    MD
    3097                Priti                      B.                    MD
    3099                Julia                       P.                   VA
    3100              Mykola                        S.                   CO
    3101            Lyudmyla                        S.                   CO
    3104            Hyok-Hee                       Y.                    MD
    3105              Daniel                        J.                   NY
    3106               Misty                       B.                    TX
    3107               India                       W.                    MO
    3108              Jeremy                       R.                    NJ
    3109             Christine                     R.                    NJ
    3111             Mehrdad                       N.                    CA
    3113              Roslyn                       B.                    MD
    3117             Michael                       B.                    CO
    3118                Paul                        P.                   TX
    3119             Jeremiah                      V.                    SC
    3121                 Ian                       M.                    CA
    3122               Paula                        S.                   IN
    3123               Marc                         S.                   IN
    3126                Nina                       H.                    IN
    3127               Eldon                       H.                    IN
    3128             Andrew                        B.                    CA
    3129             Kathryn                       C.                    CA
    3130              Robert                        S.                   CA
    3131              Masada                       D.                    CA
    3132             Kathleen                      M.                    MA
    3133             Andrew                        G.                    MA

                                  Page 58 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 60 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3134              Sharon                       A.                    CA
    3136              Angela                        P.                   NJ
    3137               David                        P.                   NJ
    3138               Bruce                       B.                    GA
    3139                Mary                       M.                    AR
    3140              Michael                      H.                    CA
    3141                Khoa                       N.                    VA
    3142              Eshagh                       A.                    CA
    3143                Clark                      H.                    IN
    3144              Victoria                     Z.                    MD
    3145              Stephen                      D.                    PA
    3146            Christopher                    N.                    CA
    3150              Sunrise                       L.                   MI
    3151                Elgin                      W.                    TX
    3152               Carole                      W.                    TX
    3153              Barbara                       L.                   FL
    3154               Drake                       B.                    FL
    3157               David                       D.                    NY
    3158               Kevin                       B.                    UT
    3159             Samantha                      M.                    CT
    3160                Kapil                      G.                    NJ
    3162                Mark                       M.                    TX
    3163                Paula                      A.                    WI
    3164              Thomas                       V.                    CA
    3165              Barbara                      R.                    WI
    3166             Jeannette                     A.                    OH
    3167               Arthur                      G.                    MI
    3168               Darvin                       J.                   MD
    3169              Bradley                      M.                    GA
    3171              Jasmine                      W.                    NY
    3172             Franklin                       I.                   OH
    3173            Johnathan                       P.                   FL
    3174              William                       T.                   FL
    3175                Juan                       D.                    FL
    3176               Jeanna                       P.                   FL
    3177                Jose                        P.                   FL
    3178             Jackelyn                       P.                   FL
    3179              Aminta                       C.                    CA

                                  Page 59 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 61 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3180              Roman                        C.                    CA
    3183             Amanda                        D.                    CA
    3184              Robert                       G.                    CA
    3186             Barbora                        S.                   CA
    3187               Peter                        F.                   VA
    3188              Alfredo                      R.                    CA
    3189              Cherie                       G.                    VA
    3190             Kenneth                       G.                    VA
    3191               Jerry                       C.                    NY
    3197              James                        M.                    CA
    3198              Olivia                       L.                    CO
    3199             Norman                        L.                    CO
    3200               Gina                        C.                    CA
    3201              Steven                       C.                    CA
    3202              Rohda                        L.                    OH
    3209               Anne                        C.                    PA
    3212             Rogelio                       G.                    MI
    3213              Amber                        T.                    OH
    3214               Emil                         J.                   OH
    3223              Joseph                       H.                    CA
    3224              Byron                        H.                    OR
    3225             Gregory                       K.                    OH
    3227              Regina                        I.                   FL
    3228              Rachel                       C.                    GA
    3229             Fong-Yi                       A.                    CA
    3230              Russell                      E.                    CA
    3232             Jennifer                      M.                    TX
    3233             Jasmine                       E.                    AL
    3234              Joseph                       M.                    MD
    3239              Brenda                       B.                    NJ
    3240             Hiranya                       B.                    NJ
    3241              Sapna                        G.                    NJ
    3242             Elizabeth                     A.                    OR
    3243               Susan                       B.                    GA
    3244              Sherry                        S.                   NC
    3245              Chong                        N.                    VA
    3246               Jason                       A.                    FL
    3247             Tatyana                        T.                  WA

                                  Page 60 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 62 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3248                John                       B.                    TX
    3250             Mitchell                       S.                   MD
    3251               Ying                        N.                   WA
    3253              Martin                        Z.                   PA
    3254               Jamie                        Z.                   PA
    3255              Gerald                        I.                   CA
    3256              David                        R.                    CA
    3257                Lisa                        F.                   CA
    3258                Jana                       H.                    MN
    3260            Nathanael                      H.                    MN
    3262             Edward                        D.                    MD
    3263               Carol                       D.                    MD
    3264              Stefan                        F.                   MO
    3265              Denise                        F.                   MO
    3266              Justine                      B.                    NY
    3268             Barbara                       C.                    NY
    3271             Thomas                        G.                    IN
    3274              Jayesh                       B.                    OH
    3276               Mary                        G.                    NY
    3280               Jayde                       D.                    MD
    3281            Hans-Snith                     A.                    FL
    3282             Charlene                       P.                   MA
    3284             Thomas                        C.                    IL
    3285              Russell                      B.                    CA
    3286                Ann                         P.                   FL
    3287              Donna                        R.                    FL
    3288             Gregory                       R.                    FL
    3289                Roja                        E.                   PA
    3290              Dylan                        B.                    PA
    3292              Dadfar                       B.                    CA
    3294              Agnes                         T.                   VA
    3295             Amanda                        T.                    OH
    3296             Rogelio                       B.                    NY
    3297             Amanda                        C.                    MO
    3298             Stephen                       K.                    CA
    3300               Yury                        R.                    CA
    3302             Gregory                        Z.                   MA
    3303              James                         S.                  WA

                                  Page 61 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 63 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3304             Kenyion                        S.                   NJ
    3305                John                       M.                    PA
    3306               Roger                        S.                   PA
    3308              Joseph                        S.                   MI
    3309               Jacob                        S.                   MI
    3311                 Jill                      B.                    MA
    3312               Barry                       B.                    MA
    3314               Lucas                       L.                    OK
    3315               Roger                        S.                   NY
    3316               Perry                        P.
    3317              Thomai                       H.
    3318               Evan                         S.                  NY
    3319             Michelle                      T.                   FL
    3320               Larry                       G.                   SC
    3321               James                        F.                  TN
    3322              Mikael                       H.                   CA
    3324              Robert                       N.                   MD
    3325              Janice                        S.                  MD
    3326            Jeanmarie                      D.                   NY
    3327             Lawrence                       L.                  NY
    3329               Larry                       A.                   TN
    3331               Misty                       D.                   TN
    3333               Darla                       A.                   TN
    3335               Gavin                       M.                   MA
    3339             Sharareh                       S.                  OR
    3340             Shohreh                        S.                  CA
    3342              Kristy                       K.                   PA
    3343              Michael                      K.                   PA
    3345               James                        S.                  GA
    3348                Joan                       A.                   CA
    3349              Everett                      A.                   CA
    3355              Jarrett                       P.                  VA
    3357             Douglas                        E.                  IN
    3358               Diane                       E.                   IN
    3359               Breya                        L.                  AR
    3360                Kent                       Y.                   IN
    3361              Melissa                      X.                   CA
    3363              Kyron                        R.                   DE

                                  Page 62 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 64 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3364                Brett                      W.                    CO
    3365              Christy                       F.                   VA
    3366              Ryleigh                       L.                   VA
    3367             Katherine                     M.                    MN
    3368              Richard                      M.                    MN
    3370              Helaine                      D.                    NJ
    3371             Nicholas                      D.                    NJ
    3372                Paul                       D.                    NJ
    3375                Neil                        S.                   CA
    3376             Melanie                       D.                    UT
    3377               Bryan                       D.                    UT
    3378               Julius                       S.                   CA
    3379            Samanatha                      R.                    PA
    3380               Grant                       B.                    IA
    3381              Richard                       S.                   NC
    3382               Brian                        S.                   MD
    3383              Alison                        S.                   MD
    3384                Beth                       W.                    PA
    3386              Stacey                       D.                    PA
    3388               James                       R.                    CO
    3389              Damien                       C.                    CO
    3391              Samuel                       B.                    VA
    3392              Samuel                        F.                   VA
    3393             Shahryar                      G.                    NY
    3395             Jennifer                      N.                    UT
    3396             Garrison                      D.                    NY
    3398              Arnold                       G.                    TX
    3400              Richard                      R.                    MI
    3401                Erin                       C.                    IN
    3402                Erik                       C.                    IN
    3403               Linda                       C.                    IN
    3404             Howard                        C.                    IN
    3407                Amy                        M.                    PA
    3408             William                        J.                   OH
    3409              Donna                        W.                    FL
    3410             William                       W.                    FL
    3411                Dirk                        Z.                   MA
    3412               Drew                        N.                    LA

                                  Page 63 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 65 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3413              Farouk                       R.                    NC
    3415               Sarah                        S.                   FL
    3416              Daniel                       H.                    FL
    3417             Timothy                       G.                    MI
    3418               Paula                       G.                    MI
    3419                Ian                        G.                    MI
    3420             Latrisha                      D.                    MD
    3423               Vicki                        S.                   VA
    3424              Staffus                      H.                    MI
    3426             Jennifer                       S.                   NY
    3427             Keteisha                       S.                   OH
    3429               Merry                       H.                    GA
    3430             Wojciech                      D.                    NJ
    3431               Edyta                       D.                    NJ
    3433              Cynthia                      K.                    OR
    3435               Yanet                       R.                    NJ
    3437            Christopher                     F.                  WA
    3438               Curtis                      W.                    OR
    3439                Lori                        S.                   CA
    3440              Mayme                         S.                   OR
    3441               Adam                        C.                    OR
    3442             Jennifer                       S.                   OR
    3443               Donte                       M.                   WA
    3444              Denise                        P.                   IN
    3446               David                       W.                    VA
    3448              Robert                       B.                    NH
    3449               Bruce                        P.                   CO
    3450               Janet                       E.                    CO
    3451              Rachel                       H.                    IL
    3452             Matthew                       B.                    WI
    3453               Ellen                       B.                    WI
    3454              Masun                         T.                   CO
    3457                Ian                        W.                    CA
    3458               Harry                       C.                    MI
    3459             Catherine                      T.                   IL
    3460              Stacey                       W.                    OR
    3461            Christopher                    C.                    OR
    3463             Terrance                      M.                    VA

                                  Page 64 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 66 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3467                 Jie                       R.                    MA
    3468              Deqing                        S.                   MA
    3469                Erik                       B.                    GA
    3470               Brian                       R.                    CA
    3471              Krishan                       J.                   TX
    3474             Michael                       L.                    MA
    3475               Cory                        B.                    CA
    3476              Walter                       K.                    LA
    3477               Emily                       B.                    GA
    3479             William                        J.                   CA
    3480               Ryan                        B.                    CA
    3481              Lamar                        A.                    CA
    3482               Colin                       M.                    CA
    3483              Candy                        A.                    TX
    3484                Paul                       A.                    TX
    3485              Richard                       S.                   PA
    3486               Latica                      T.                    NY
    3487               John                        K.                    PA
    3488               Gayle                       N.                    CO
    3489             Michael                       G.                    TX
    3491             Ekaterina                     C.                    NV
    3492               Alan                        C.                    NV
    3493              Kellean                      G.                   WA
    3494             Thomas                        A.                   WA
    3496              Lauren                       M.                    GA
    3497             Michael                       G.                    CA
    3498               Edith                       M.                    NY
    3499                Jon                         T.                   NY
    3500             Maryann                       C.                    WI
    3501             Thomas                        C.                    WI
    3502              Nicolas                      C.                    WI
    3504             Timothy                       C.                    IL
    3505              Sandra                       L.                    MA
    3506             Benjamin                      H.                    MA
    3507             Kenneth                        I.                   {A
    3508               John                         S.                   NJ
    3509             Matthew                       H.                    MA
    3510              Nathan                       D.                    IL

                                  Page 65 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 67 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3511              Daniel                       G.                    CA
    3513               Ralph                       M.                    TX
    3514               Mary                        A.                    OH
    3515              Patrick                      B.                    OH
    3516              Scarlett                     K.                    PA
    3517               Susan                       M.                    NY
    3519              Leticia                       S.                   CA
    3520               John                        M.                    OK
    3521             Andrew                        T.                   WA
    3523               Brian                        S.                   FL
    3524             Julianne                       J.                   NY
    3525             Mikhael                        S.                   DC
    3527            Frederique                      S.                   MA
    3529             Elizabeth                      P.                   VA
    3531             Michael                        P.                   VA
    3532               Sean                        N.                    MO
    3533              George                        I.                   DC
    3537              Andrea                        S.                   OH
    3539             Stefanie                      B.                    VA
    3540              Joseph                       B.                    VA
    3541              Debora                        J.                   NV
    3542              Kansas                       C.                    GA
    3544             Yesenia                        P.                   TX
    3545               Sarah                       W.                    MD
    3547             Michelle                      H.                    IN
    3548              Jeffrey                      H.                    IN
    3549             Michael                        S.                   MI
    3551             Cynthia                        S.                   GA
    3552              Monika                       D.                    IL
    3555               Mihai                       C.                    OR
    3556               John                         T.                   CA
    3557               David                       H.                    GA
    3558              Randel                       D.                    VA
    3559             Fatmata                       B.                    TN
    3560                Kin                        K.                    NY
    3561               Yukti                       A.                    NY
    3563                Paul                       T.                    NJ
    3564               Brian                        T.                   wa

                                  Page 66 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 68 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3565              Jeffrey                      N.                   WY
    3566           Chidambaram                     K.                    GA
    3567              Joshua                       B.                    GA
    3569            Alexandria                      P.                   CA
    3571              Donald                       M.                    IN
    3572             Carolann                      V.                    NY
    3573             Veronica                      V.                    NY
    3574              Samuel                       M.                    NJ
    3580              Adam                         K.                    CA
    3581             Michelle                      N.                    CO
    3583              Karen                         T.                   VA
    3586            Tarchiauna                     T.                    VA
    3587              Katrina                      H.                    CA
    3588              Darrell                       T.                   VA
    3590              Marcus                        J.                   VA
    3591               Isaac                       M.                    IL
    3592              Theron                       M.                    CA
    3593               Kelly                       M.                    CA
    3597             Michael                       H.                    CA
    3598             Tryphina                      H.                    CA
    3599              Donnie                       H.                    NM
    3600              Steven                        J.                   NY
    3601              Kevin                         L.                   CA
    3602               Elisa                       A.                    CA
    3603               Miles                       G.                   WA
    3607              Chase                        H.                    MO
    3609               Conie                        L.                   FL
    3612              Keenen                       W.                    CA
    3613                Yen                         T.                   CA
    3621              Aaron                        C.                    IN
    3622             Thomas                        C.                    IN
    3623             Michael                       M.                    IN
    3624               Jane                        M.                    IN
    3625              Debra                        C.                    IN
    3626              Wayne                         S.                   IN
    3627             Marilyn                        S.                   IN
    3628               Craig                       M.                    VA
    3630              Liliana                      W.                    GA

                                  Page 67 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 69 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3632              Gabriel                      A.                    GA
    3633               John                         I.                   CA
    3635             Richard                        S.                   NC
    3636             Clarissa                       S.                   NC
    3637               Anna                         L.                   NY
    3640               Ross                        A.                    MN
    3641             Gregory                       H.                    MD
    3642             Michael                       Z.                    MT
    3643               Traci                        Z.                   MT
    3644             Michael                        F.                   CA
    3647              Andres                       C.                    NJ
    3649               Sunit                       K.                    GA
    3650                Paul                        I.                   FL
    3651               Kevin                       H.                    UT
    3652             Jennifer                      C.                    CA
    3653                Sara                       B.                    MD
    3654             Rhonda                        K.                    CA
    3657              Clinton                      L.                    NC
    3660              Daniel                       D.                    WI
    3661              Kaylin                       B.                    WI
    3662             Cynthia                       D.                    WI
    3665               Brock                        P.                   CA
    3666               Daren                       K.                    ID
    3667               Alice                        P.                   TX
    3668              Dewitt                        P.                   TX
    3670              Ripam                         S.                   IN
    3671             Timothy                        T.                   FL
    3672             Zachary                       G.                    MN
    3676              Tracie                       W.                    KY
    3678              Patricia                     N.                    WI
    3682             Michael                        J.                   CA
    3683               Alicia                      B.                    CA
    3684             Gabriela                      H.                    CA
    3689             Mitcheel                      R.                    VT
    3690               Ezra                        G.                    MD
    3692               Emily                       K.                    VA
    3693               Emily                       H.                    MD
    3695              Neilye                       G.                    MD

                                  Page 68 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 70 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3696              Robert                       A.                    OH
    3697              Natalie                      K.                    VT
    3698              Regina                        J.                   NJ
    3699               Mary                        E.                    NV
    3700               Lora                        W.                    CO
    3703               Bruce                        J.                   CA
    3706             Asawari                       K.                    IN
    3708             Matthew                       H.                    PA
    3710              Juanita                       T.                   TN
    3713               Mark                         S.                   CA
    3714              Lowell                       D.                    MA
    3715              Allison                      A.                    CA
    3718               Philip                      A.                    CA
    3720             Ricardo                       V.                    MA
    3721             Margaret                      D.                    MA
    3722              Tamsen                       W.                    PA
    3723             Elisabeth                     G.                    NY
    3724             Christina                     R.                    PA
    3727             Marilyn                       M.                    TN
    3730             Matthew                       W.                    AR
    3731             Elizabeth                     H.                    CA
    3732              Joseph                       W.                    CA
    3733              Vianca                       B.                    MA
    3735             Anthony                       D.                    MA
    3737              Charles                       S.                   CA
    3739               Rena                        C.                    TX
    3742             Barbara                        L.                   TX
    3743              Jeremy                       H.                    GA
    3744             Mitchell                       S.                   CA
    3745               Adam                        R.                    CA
    3747             Victoria                       P.                   FL
    3748              Sarabjit                      S.                   NC
    3751            Jon-David                      H.                    UT
    3753             Michael                       T.                    CA
    3762               Noor                        A.                    MO
    3763            Mohammed                        S.                   MO
    3764             Kiersten                       S.                   GA
    3765             Gerardo                       B.                    GA

                                  Page 69 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 71 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3766             Cristhian                     H.                    GA
    3767             Gamaliel                      G.                    GA
    3768               Lygia                        S.                   GA
    3769             Rosmery                       A.                    GA
    3770              Erenia                       C.                    GA
    3771               Alan                         S.                   GA
    3773             Deborah                       D.                    MD
    3774              Vatche                        T.                   CA
    3776             Matthew                       T.                    CA
    3777               Zonel                        P.                   CA
    3778               Diana                       O.                    CA
    3783               Edvin                       H.                    CA
    3785              Chokri                       B.                    CA
    3786             Victoria                      A.                    CA
    3787             Fernando                      A.                    CA
    3788               Garo                        A.                    CA
    3789               Cindy                       A.                    CA
    3790             Myeshia                       A.                    CA
    3791              Alonzo                       A.                    VA
    3792              Tanisha                       F.                   VA
    3794              Deanna                        F.                   TX
    3795              Randy                        B.                    UT
    3796              Qiaona                       W.                    NY
    3797               Tony                        Y.                    NY
    3798             Mitchell                      M.                    VA
    3799             Roderick                      D.                    VA
    3800              Jeremy                       D.                    VA
    3801            John-Paul                      R.                    VA
    3805               Faten                       A.                    CA
    3806                Rita                       N.                    NY
    3807              Adeteju                      O.                    NJ
    3808               Femi                        A.                    NJ
    3810               Osita                       N.                    NJ
    3811            Afamefula                      O.                    NJ
    3812              Ogechi                       A.                    NJ
    3814               Brett                        L.                   MO
    3815              Robert                       M.                    MO
    3816               Laura                       N.                    CA

                                  Page 70 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 72 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3818               Molly                       W.                    IN
    3819               Anna                        B.                    IN
    3822               Paul                        L.                    PA
    3833             Brandon                       B.                    FL
    3834                Lisa                       B.                    FL
    3836             Matthew                        S.                   PA
    3838              Shanni                        S.                   PA
    3841               Karen                        L.                   PA
    3848               Laura                       N.                    IN
    3849               Anish                       N.                    IN
    3857              Hernan                       A.                    GA
    3860              Tressie                      R.                    GA
    3862              Edward                       A.                    CA
    3863               Diane                       M.                    NC
    3866              Cecilia                      A.                    GA
    3869             Amanda                        H.                    FL
    3870               Grey                        G.                    FL
    3878               Chau                         P.                   PA
    3880               Hana                        D.                    PA
    3883                Zef                         S.                   PA
    3884              Andrej                        S.                   PA
    3885                Pat                         Z.                   FL
    3889               Hong                         P.                   PA
    3891               Anna                        D.                    OH
    3893              William                      M.                    PA
    3894             Frederick                     B.                    PA
    3899               Keith                       D.                    OH
    3900              Michael                       S.                   PA
    3902              Richard                      W.                    PA
    3908              Ashley                       L.                    PA
    3909              Travis                       M.                    PA
    3910               Anita                       M.                    PA
    3911              Alvery                       N.                    PA
    3914             Wojciech                      G.                    CA
    3916              Brianna                      B.                    PA
    3920              Oliver                        F.                   NY
    3921              Sherrie                      U.                    NY
    3922               April                       M.                    GA

                                  Page 71 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 73 of 74
                          Timely and Valid Exclusions

JND Identifier      First Name        First Initial of Last Name   State/Province
    3925              Samuel                       G.                    GA
    3927              Ronald                       G.                    NY
    3928                Gayle                      G.                    NY
    3930               Dustin                       S.                   NY
    3931               Abbie                       C.                    MN
    3932             Clarence                       S.                   GA
    3934               Sayed                       B.                    CA
    3936            Midgladis                      G.                    GA
    3937               Joseph                       J.                   GA
    3938            Alexandra                       S.                   GA
    3939                 Ana                        L.                   GA
    3940               Raquel                      K.                    GA
    3941               Adrian                      B.                    GA
    3942              Jennifer                      S.                   PA
    3946                Todd                       H.                    SC
    3947             Elizabeth                     M.                    SC
    3952               Emily                       W.                    SC
    3954              Charles                      W.                    SC
    3955              Clifford                      E.                   NY
    3956              Stephen                       S.                   NY
    3958                Reya                        J.                   UT
    3959              Samuel                        L.                   CA
    3962               Steven                      N.                    CA
    3964                Cathy                      K.                    MN
    3965                Bruce                      K.                    MN
    3966             Angelica                       P.                   TX
    3967               Justine                      P.                   TX
    3971            Alexandra                      G.                    NY
    3978                Jacob                      C.                    TX
    3979             Michael                       C.                    TX
    3980              Patricia                     C.                    TX
    3981             Anthony                       C.                    FL
    3983            Alexander                      C.                    GA
    3984             Carmelita                      J.                   IL
    3986               Payam                       T.                    CA
    3987              Georgia                      L.                    VA
    3989             Donovan                       W.                    GA
    3995               Shelby                      K.                    NM

                                  Page 72 of 73
      Case 1:17-md-02800-TWT Document 899-39 Filed 12/05/19 Page 74 of 74
                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    3999               Juby                        R.                    CA
    4001               Sean                        G.                    FL
    4002              Janice                       H.                    OK
    4008              Cheryl                       W.                    NC
    4010            Ynohtan                        H.                    IL
    4013              Khang                        D.                    GA
    4014               Gina                        R.                    IL
    4015              Diana                        A.                    FL
    4025              Mark                         W.                    IA
    4028               Carl                         S.                   OR
    4031                Yu                          L.                   CA
    4032              James                         J.                   VA
    4033             Beverly                       G.                    NY
    4035              Sarah                         J.                   TX
    4036          Beverly-Olney                    L.                    NY
    4044              Felicia                       P.                   GA
    4048             Zarinah                       N.                    AZ
    4051             Crystal                        L.                   FL
    4053             Thomas                        D.                    VA
    4054              Nancy                        H.                    VA
    4055             Jennifer                      D.                    VA
    4058             Dulcey                        D.                    NM
    4060               John                        N.                    WI
    4065              David                        H.                    FL
    4066              Barry                        R.                    VA
    4070            Caroline                       B.                    CA
    4073              Murat                        A.                    CA
    4075               Paul                        Y.                    PA
    4077           Mashaweta                       B.                    MI
    4093              Robert                       A.                    CA
    4097               Rena                        C.                    AZ
    4098             Faheem                         J.                   IL
    8866              Travis                       H.                    TX
    1124             Lajuana                       M.                    TX




                                  Page 73 of 73
